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                                   EXHIBIT A

                             Proposed Interim Order




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                       IN TIE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re;                                                 ) Chapter 11

Allen Systems Group, Inc., eC al.,'                    ) Case No. 15-10332(____)

                                                           (Joint Administration Requested)
                              Debtors.                 )


   INTERIM ORDER PURSUANT TO 11 U.S.C. §§ 1p5,361,362, X63,364, AND 507
 (A)APPROVING PAST-PETITION FINANCING,(R)GRANTING FIRST-PRIORITY
     SENIOR LIENS AND PROVIDING SUPER-PRIQRIT~'ADMINISTRATIVE
    EXPENSE STATUS,(C)AUTH012IZING THE USE OF CASH COLLATERAI.~,
    (D)GRANTING ADEQUATE PROTECTIQN TO PRE-PETITION SECURED
     CIt~DITORS,(E) MODIFYING THE AUTQMATIC STAY,(F) GRANTING
        RELATED RELIEF,AND ~G)SCHEDULING A FINAL HEARING

         This matter having come before the Court upon the mgtion (the "Motion") by Allen

Systems Group, Inc. ("Allen Systems"), ASG federal, Inc., and Viasoft International, I,,LC, the

debtors and debtors-in-possession (collectively, the "Debtors") in the above-referenced

bankruptcy cases (cgllectively, the "Cases"), pursuant to Sections 105, 361, 362, 363, 364, and

507 of Title 11 of the United States Code (11 U.S.C. §§ 1pl, et seq., as amended, the

"Bankrut~tcy Cade"), and Rules 20Q2, 4001, 6004, and 9014 of the Federal Rules of

Bankruptcy Procedure (the `Bankruptcy Rules"), seeking entry of an interim order (this

"Interim Order"), and a final order, inteN alias

         1.       Authorizing, under Sections 364(c) and 364(d) of the Bankruptcy Code and

Bankruptcy Rule 4001(c), the Debtors to obtain, as ca-borrowers, secured, super-priority post-

petition loans, advances, and other financial accommodations (the "DIP Facility"), pn an interim

basis for a period through and including the elate of the Final I-~earing (as defined below), which

hearing is to be no more than thirty-five (35) days after entry of this Interim Order, and on a final

~ The Debtors and the last fqur digits of each Debtor's federal tax_ identification number are as follows: Allen
Systems Group, Inc.(4496); ASG Federal, Inc.(1773); and Viaspft Internatipnal, LLC (9761). The mailing address
for all of the Debtors is: 708 Goodlette Road, Naples, Florida 34102.


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                                                                                                 rity DehtoN-
basis, pursuant ic> the tei•7i~s and. conditions of that certain Senior Secured, Supef~-P~°io
                                                                                    ed, or otherwise
in-Pos,sessi~~n Loc7~~ nn~' ~5ecuy~ity Ag~~eement (as amended, restated, supplement
                                                                among (a) the Debtors,(b)
modified from time to time, the "I3IP Credit Agreement") by and
                                                                           (the "DIP Agent"),
NewStar business Credit, LLC, as administrative agent and collateral agent
                                                              Lenders" and each a "DIP
and (c) the lenders from time to time party thereto (the "DIP
                                                                   red to herein as the "DIP
i,ender;" the UIP Agent and the DIP Lenders are collectively refer
                                                                         hed hereto; and
~rec~it Parties"), substantially in the form of Exhibit"A" attac
                                                                                          below) pursuant to
        2.       Tl~e priming of pre-petition liens by the DIP Liens (as defined
                                                          ion Collateral (as defined below) of
Section 364(4)(1) of the Bankruptcy Code on the Pre-Petit

the Pre-Petition Secured Creditors(as defined below); and
                                                                        Credit Agreement and all
         3,      Authorizing the Debtors to execute and deliver the DIP
                                                      without limitation, security agreements,
 other related documents and agreements, including,
                                                       , guaranties, and promissory notes (each
 deposit account control agreements, pledge agreements
                                                or otherwise modified from time to time, and
 as may be amended, supplemented, restated,
                                                      Loan Documents")2 and to perform such
 collectively with the DIP Credit Agreement, the "DIP
                                                                   with the DIP Loan Documents; and
 other acts as may be tlecessaly ot• desirable in connection
                                                                         claim status pursuant to
          ~4,     Granting allowed super-priority administrative expense
                                                      the Cases and any Successor Cases (as
  Section 364(c)(l) of the Bankruptcy Code in each of
                                                               t Agre         ement and the other DIP Loan
  defined herein) to all obligations owing under the DIP Credi
                                                        ns" as described in the DIP Credit
  Documents (collectively, and including all "Obligatio
                                                                   ties set forth herein; and
  Agreement, the "I3IP Obligations"), subject to the priori




                                                                                                     and the
                                                    meanings given to them in the DIP Loan Documents
  1 Capitalized terms used but not defined have the
  Motion.


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       5.       nuthorizin~ the Debtors to (a) use Cash Collateral (as defined below) and all

other collateral in which the .Pre-Petition Secured Creditors have an interest in and (b) grant

adequate protection to the Pre-Petition Secured Creditors, whose liens and security interests are

being primed by the DIP Facility, with respect to, inter alia, such use of their Cash Collateral and

all use and diminution in the value of the Pre-Petition Collateral; and

        h.       Granting to the DIP Agent, for the benefit of the DIP Credit Parties, automatically

                                                                                            limitation,
perfected security interests in and liens on all ofthe DIP Collateral, including, without

all property constituting Cash Collateral, which liens shall be subject to the priorities set forth

herein; and

        7.       Authorizing and directing the Debtors to pay the principal, interest, fees,

                                                                            they become
expenses, and other amounts payable under each of the DIP Loan Documents as
                                                                                rative fees, any
due, including, without limitation, commitment fees, unused line fees, administ
                                                                             disbursements of
additional fees set forth in the DIP Loan Documents, the reasonable fees and
                                                                                 and all related
the DIP Credit Parties' attorneys, advisers, accountants, and other consultants,
                                                                                 in accordance
reasonable expenses of the DIP Credit Parties, all to the extent provided by and

 with the terms of the respective DIP Loan Documents; and

         8.       Vacating and modifying the automatic stay imposed by Section 362 of the

                                                                                         provisions of
 Bankruptcy Code to the extent necessary to implement and effectuate the terms and

 the DIP Loan Documents and this Interim Order; and

         9,       Granting related relief; and

         10.      Scheduling a final hearing within thirty-five (35) days of entry of this Interim

                                                                                       basis and
 Order (the "Final Hearing") to consider the relief requested in the Motion on a final

 approving the form of notice with respect to the Final Hearing.




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        The Court 1laving considered the Declaration In Support of Fz~~st Day Pleadings, the

Motion, the exhibits attached thereto, the declarations filed in support thereof, the DIP Loan

Documents, and the evidence submitted or adduced and the arguments of counsel made at the

interim hearing held on the Motion (the "Interim Hearing"); and notice of the Interim Hearing

having been given in accordance with Bankruptcy Rules 4001(b), (c), and (d), 9014, and Local

Bankruptcy Rule 2002-1; and the Interim Hearing to consider the interim relief requested in the

Motion having been held and concluded; and all objections, if any, to the interim relief requested

in the Motion having been withdrawn, resolved, or overruled by the Court; and it appearing to

the Court that, pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2), granting the interim

relief requested is necessary to avoid immediate and irreparable harm to the Debtors and their

estates pending the Final Hearing, and otherwise is fair and reasonable and in the best interests of

the Debtors, their estates, and their creditors and equity holders, and is essential for the continued

operation of the Debtors' businesses; and after due deliberation and consideration, and for good

and sufficient cause appearing therefore;

         BASED UPON THE RECORD ESTABLISHED AT THE INTERIM HEARING BY

THE DEBTORS, INCLUDING THE SUBMISSION OF ONE OR MORE DECLARATIONS

AND THE REPRESENTATIONS OF COUNSEL, THE COURT HEREBY MAKES THE

FOLLOWING FINDINGS OF FACT AND CONCLUSIONS OF LAW:

         A.       Petition Date. On February 18, 2015 (the "Petition Date"), each of the Debtors

fled a separate voluntary petition under Chapter 11 of the Bankruptcy Code in the United States

Bankruptcy Court for the District of Delaware (the "Court"), commencing these Cases.

         B.       Debtors-in-Possession.    The Debtors are continuing in the management and

operation. of their businesses and properties as debtors-in-possession pursuant to Sections 1107

and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in these Cases.


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        C.       Jurisdiction and Venue. This Court has jurisdiction, pursuant to 28 U.S.C.

§§ 157(b) and 1334, over these proceedings, and over the persons and property affected hereby.

Consideration of the Motion constitutes a core proceeding under 28 U.S.C. § 157(b)(2). Venue

for the Cases and proceedings on the Motion is proper in this district pursuant to 28 U.S.C. §§

1408 and 1409.

        D.       Committee Formation. As of the date hereof, the Office of the United Mates
                                                                                   Cases
Trustee (the "U.S. Trustee") has not yet appointed any official committee in these

pursuant to Section 1102 of the Bankruptcy Code(each, a "Statutory Committee")

        E.        Pre-Petition Collateral Structure. Without prejudice to the rights of any other

party, the Debtors admit, stipulate, and agree that:

                  1.       Pre-Petition First Liens and Obli ations. Pursuant to that certain Credit
                                                                               otherwise
         Agreement dated as of December 14, 2012 (as amended, supplemented, or
                                                                                      Facility"), by
         modified from time to time prior to the date hereof, the "Domestic Credit
                                                                                           the
         and among Allen Systems, as borrower, certain subsidiaries thereof as guarantors,
                                                                                               TPG
         lenders from time to time party thereto (the "Pre-Petition Secured Lenders"), and

         Allison Agent, LLC, succeeded by Wilmington Trust, N.A., as administrative agent (the
                                                                                             in
         "Pre-Petition Agent"), the Debtors owe certain pre-petition Obligations (as defined

         the Domestic Credit Facility), including principal in the amount of $239,337,000.00, pre-

         petition accrued and unpaid interest in the amount of $44,943,832.05,3 premiums,

         including the Acceleration Damage Premium (as defined in the Domestic Credit Facility),

         in the amount pf $28,720,440.00, and unpaid fees in the amount of $3,647,082.00

         (collectively, the "First Lien Pre-Petition Obligations"), secured by granted liens (the




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      "Pre-Petition First Liens") on substantially all of the assets of the Debtors (the

      "Domestic Credit Facility Collateral").

                2.       Pre-Petition Second Liens and Qbligations. The Debtors are obligors with

       respect to the 10'/z% senior secured second lien notes due 2Q16 (the "Second Lien

       Notes," and together with the Domestic Credit Facility, the "Pre-Petition Secured

       Debt") issued by Allen Systems pursuant to that certain Indenture (as amended,

       supplemented, or otherwise modified from time to time prior to the date hereof,

       the "Indenture," and together with the Domestic Credit Facility, the "Pre-Petition

       Agreements"), dated November 22, 2010, with The Bank of New York Mellon Trust

       Company, N.A., as the indenture trustee thereunder (the "Indenture Trustee;" and

       together with the Pre-Petition Holders (as defined below), the Pre-Petition Secured

       Lenders, and the Pre-Petition Agent, the "Pre-Petition Secured Creditors"), pursuant to
                                                                                           e),
        which the Debtors owe certain pre-petition Obligations (as defined in the Indentur

       including principal in the amount of $300,000,000.00 and pre-petition accrued and

        unpaid interest in the amount of $41,341,241.484 (collectively, the "Second Lien Pre-

        Petition Qbli~ations;" together with the First Lien Pre-Petition Obligatigns, the "Pre-

        Petition Obligations") secured by second-priority liens (the "Pre-Petition Second

        Liens," and together with the Pre-Petition First Liens, the "Pre-Petition Liens") on

        substantially all of the assets of the Debtors (the "Second Lien Collateral," and together

        with the Domestic Credit Facility Collateral, the "Pre-Petition Collateral").

                 3.          Enforceability. The Pre-Petition Secured Debt constitute legal, valid, and

        binding obligation of the Debtors, enforceable in accordance with the terms of the Pre-

        Petition Agreements and no portion of the Pre-Petition Secured Debt is subject to


4       Calculated as of February 18, 2015.



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       avpidance, recharacterization, recovery, or subordination pursuant to the Bankruptcy

       Code or applicable non-bankruptcy law. The Pre-Petition Agreements and the Fre-

       Petition Security Documents(as defined below) are valid, binding, and enforceable.

                 4.        Pre-Petition Credit Documents. The Pre-Petition Liens granted tq the Pre-

        Petition Agent and the Indenture Trustee pursuant to and in connection with the Pre-

        Petition Agreements (including, without limitation, all security agreements, fledge

        agreements, mortgages, deeds of trust, account control agreements, and gther security

        documents executed by any of the Debtors in favor of the Pre-Petitipn Agent and

        Indenture Trustee, for their benefit and for the benefit of the other Pre-Petition Secured

        Creditors, collectively, the "Pre-Petition Security Documents," and together with the

        Pre-Petition Agreements, the "Pre-Petition Credit Documents") are valid, binding,

        perfected, enforceable, first- and second-priority liens and security interests, as

        applicable, in the Pre-Petition Collateral and were granted to, or for the benefit of, the

        Pre-Petition Secured Creditors, as applicable, far fair consideration and reasonably

        equivalent value, and are not subject to avoidance, recharacterization, or subordination

        pursuant to the Bankruptcy Code or applicable non-bankruptcy law.

                  5.           Consent of the Ad Hoc Committee of Pre-Petition Secured Creditors. The

         Ad Hoc Committee of Pre-Petition Secured Creditors (as defined in the Motion) has

         consented to the relief requested in the Motion and provided in this Interim Order, subject

         to the terms of this Interim Order.

         F.       Findings Re ardin~ Post-Petition Financing.

                   1.          Request for Post-Petition Financing.   The Debtors seek authority to

        (a) enter into the DIP Facility on the terms described herein and in the DIP Loan

         Documents, (b) use Cash Collateral on the terms described herein to administer their


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      Cases and fund their operations, and (c) grant adequate protection to the Pre-Petition

      Secured Creditors with respect to, inter alia, such use of their Cash Collateral and all use

      and diminution in the value of the Pre-Petition Collateral as their interests appear. At the

       Final Hearing, the Debtors will seek final approval of the proposed post-petition

      financing arrangements, use of Cash Collateral, and adequate protection pursuant to a

       proposed final order (the "Final Order"), which shall be in form and substance

       acceptable to the DIP Agent, the Pre-Petition Secured Lenders holding directly or

       indirectly at least 50.1% of the aggregate principal amount of outstanding Domestic
                                                                                       Plan,
       Credit Facility Claims (as defined in the Debtors' Joint Prepackaged ChapteN 11
                                                                                                  to
       dated February 9, 2015 and filed concurrently herewith (as may be amended from time
                                                                                             Second
       time, the "Plan"))(the "Required Pre-Petition Lenders") and the holders of the
                                                                                       50.1% of
       Lien Notes (the "Pre-Petition Holders") holding directly or indirectly at least
                                                                             Plan) (the
       the aggregate principal amount of all Notes Claims (as defined in the
                                                                                     will be
       "Required Pre-Petition Holders"). Notice of the Final Hearing and Final Order

        provided in accordance with this Interim Order.

                 2.          Priming of the Pre-Petition Liens. The priming of the Pre-Petition Liens

                                                                                                 DIP
        on the Pre-Petition Collateral by the DIP Liens will enable the Debtors to obtain the
                                                                                              and
        Facility and to continue to operate their businesses for the benefit of their estates
                                                                                        to (a)
        creditors. The Ad Hoc Committee of Pre-Petition Secured Creditors has consented
                                                                                  Loan
        the financing arrangements contemplated by this Interim Order and the DIP
                                                                                   rative
        Documents, including such senior priming liens and super-priority administ
                                                                                         in this
        expense claims as provided herein, subject to the terms and conditions set forth
                                                                                        the terms
        Interim Order, and (b) the Debtors' proposed use of Cash Collateral, subject to

        and conditions set forth in this Interim Order.


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                3,       Immediate Need for Post-Petition Financing and Use, of Cash Collateral.

       The Debtors' need to use Cash Collateral and obtain post-petition financing pursuant to

       the DIP Facility is immediate and critical in order to enable the Debtors to continue

       operations and to administer and preserve the value of their estates. The ability of the

       Debtors to finance their operations, maintain business relationships, pay their emplpyees,

       protect the value of their assets, and otherwise finance their operations requires the

       availability of working capital from the DIP Facility and the use of Cash Collateral, the

       absence of either of which would immediately and irreparably harm the Debtors, their

       estates, their creditors, and equity holders, and the possibility for a successful

       administration of these Cases. The Debtors do not have sufficient available sources of

        working capital and financing to operate their businesses or to maintain their properties in

        the ordinary course of business without the DIP Facility and authorized use of Cash

        Collateral.

                 4.       No Credit Available on More Favorable Terms. Given their current

        financial condition, financing arrangements, and capital structure, the Debtors are unable

        to obtain financing from sources other than the DIP Credit Parties on terms more

        favorable than the DIP Facility. The Debtors have been unable to obtain unsecured credit

        allowable under Section 503(b)(1) of the Bankruptcy Code as an administrative expense.
                                                                                          of
        The Debtors have also been unable to obtain credit: (a) having priority over that

        administrative expenses of the kind specified in Sections 503(b), 507(a), and 507(b) of

        the Bankruptcy Code;(b) secured by a lien on property of the Debtors and their estates
                                                                                                      of
        that is not otherwise subject to a lien; or (c) secured solely by a junior lien on property

        the Debtors and their estates that is subject to a lien. Financing on apost-petition basis is
                                                                                        DIP Credit
         not otherwise available without granting the DIP Agent, for the benefit of the


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       Parties, (i) perfected security interests in and senior priming liens on (each as provided

       herein) all of the DIP Collateral, (ii) the DIP duper-Priority Claims (as defined herein),

       and (iii) the other protections set forth in this Interim Order.

                 5.        Use of Proceeds of the DIP Facility. As a condition to entry into the DIP

       Credit Agreement and the extensions of credit under the DIP Facility, the DIP Credit

       Parties require, and the Debtors have agreed, that proceeds of the DIP Facility shall be

       used in a manner consistent with the terms and conditions of the DIP Loan Documents

       and the budget (a copy of which is attached as Exhibit "B" hereto, as the same may he

        modified from time to time consistent with the terms of the DIP Loan Documents, and
                                                                                     for
        subject to such variances as may be permitted thereby, the "Budget"), solely
                                                                              certain
       (a) working capital and general corporate purposes of the Debtors, (b)
                                                                                          upon
        specified bankruptcy-related costs and expenses, and (c) any other purpose agreed
                                                                                        and as
        or permitted under the DIP Facility„ in each case in accordance with the Budget

        otherwise provided hereunder and under the DIP Loan Documents.

                  6.           Application of Proceeds of DIP Collateral. As a condition to entry into the

                                                                                           and
        DIP Loan Documents and the extension of credit under the DIP Facility, the Debtors
                                                                                          set
        the DIP Agent have agreed that the proceeds of DIP Collateral shall be applied as

        forth in the DIP Credit Agreement and this Interim Order.

         G.       Sections 506(cZand 552(b~. In light of the DIP Agent's agreement to subordinate
                                                                                            herein), upon
its liens and super-priority claims, as applicable, to the DIP Carve-Out(as defined
                                                                                                      DIP
entry of the rinal Order, together with the agreement of the DIP Credit Parties to provide the
                                                                                                  to allow
Facility, and the agreement of the Ad Hoc Committee of Pre-Petition Secured Creditors
                                                                                        DIP
the Pre-Petition Liens to be primed by the DIP Carve-Out and the DIP Liens, each of the
                                                                                        provisions
Credit Parties and the Pre-Petition Secured Creditors is entitled to a waiver of(a) the


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of Section 506(c) of the Bankruptcy Code and (b) any "equities of the case" claims under Section

552(b) of the Bankruptcy Code.

        H.      Good Faith of the DIP Credit Parties.

                 1.      Willingness to Provide Financing. Each of the DIP Credit Parties has

        indicated a willingness to provide financing to the Debtors subject to: (a)the entry pf this

        Interim Order and the Final Order;(b) approval of the terms and conditions of the DIP

        Facility and the DIP Loan Documents as contemplated by this Interim Order; and (c)

        entry of findings by this Court that such financing is essential to the Debtors' estates, that

        each of the DIP Credit Parties is extending credit to the Debtors pursuant to the DIP Loan

        Documents in good faith, and that each of the DIP Credit Parties' claims, super-priority

        claims, security interests, liens, rights, and other protections granted pursuant to this

        Interim Qrder and the DIP Loan Documents will have the protections prpvided in Section

        364(e) of the Bankruptcy Code and will not be affected by any subsequent reversal,

        modification, vacatur, amendment, reargument, or reconsideration of this Interim Order

        or any other order.

                 2.          Business Judgment and Good Faith Pursuant to Section 364(e): The

         extension of credit under the DIP Facility reflects the Debtors' exercise of prudent

         business judgment consistent with their fiduciary duties, and is supported by reasonably

         equivalent value and consideration. The DIP Facility and the use of Cash Collateral were

         negotiated in good faith and at arms' length among the Debtors, the DIP Credit Parties,

         and the Ad Hoc Committee of Pre-Petition Secured Creditors. The use of Cash Collateral

         and credit to be extended under the DIP Loan Documents shall be deemed to have been

         so allowed, advanced, made, used, or extended in good faith, and for valid business

         purposes and uses, within the meaning of Section 364(e) of the Bankruptcy Code, and


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        each of the DIA Credit Parties and the Pre-Petition Secured Creditors is therefore entitled

        to the protection and benefits of Section 364(e) of the Bankruptcy Code and this Interim

        Order.

        I.       Notice. Notice of the Interim Hearing and the emergency relief requested in the

Motion has been provided by the Debtors, whether by facsimile, e-mail, overnight courier, or

hand delivery, to certain parties-in-interest, including: (1) the U.S. Trustee for the District of

Delaware; (2) the Securities and Exchange Commission;(3) the Internal Revenue Service; (4)

the parties included on the Debtors' consolidated list of twenty (2Q) largest unsecured creditors;

(5) Greenberg Traurig, LLP (Attn: Bryan L. Elwood and Heather E. Moulder), counsel to the

DIP Agent; (6) Paul, Weiss, Rifkind, Wharton &Garrison LLP (Attn: Alan W. Kornberg and

Kelley A. Cornish), and Young Conaway Stargatt &Taylor, LLP (Attu: Pauline Morgan and

Maris J. Kandestin), counsel to the Ad Hoc Committee of Pre-Petition Secured Creditors; (7)

James Bates Brannan-Groover LLP, counsel to the Pre-Petition Agent;(8)the Indenture Trustee;

(9) those parties, if any, who have filed a notice of appearance and request for service of

pleadings in these Cases pursuant to Bankruptcy Rule 2Q02; (10) all parties known, after

reasonable inquiry, to have affected a lien, encumbrance, or claim in the DIP Collateral;(11) the

Environmental Protection Agency,(12) the United States Attorney's Office for the District of

Delaware;(13) the office of the attorneys general for the states in which the Debtors operate; and

(14) counsel for any Statutory Committee. The Debtors have made reasonable efforts to afford

the best notice possible under the circumstances and such notice is good and sufficient to permit

the interim relief set forth in this Interim Order, and no other or further notice is or shall be

required.

         J.       Immediate Entrv. Sufficient cause exists for immediate entry of this Interim

 Order pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2). Absent entry of this Interim


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Order, the Debtors' businesses, properties, and estates will be immediately and irreparably

harmed. This Court cgncludes that entry of this Interim Order is in the best interest of the
                                                                                          , allow
Debtors' respective estates and creditors as its implementation will, among gther .things
                                                                                       s'
for the continued operation of the Debtors' existing businesses and enhance the Debtor

prospects for successful reorganization.
                                                                                               the
        Based upgn the foregoing findings and conclusions, the Motion, and the record before
                                                                                  re,
Court with respect t~ the Motion, and good and sufficient cause appearing therefo

        IT IS HEREBY ORDERED that:
                                                                                        the
         1.      Interim Financing Approved. The Motion is granted on an interim basis,
                                                                                 basis, and the use
Interim Financing (as defined herein) is authorized and approved on an interim
                                                                     the terms and conditions set
of Cash Collateral on an interim basis is authorized, all subject to
                                                                   the DIP Loan Documents and
forth in this Interim Order. Unless terminated earlier pursuant to
                                                               that is thirty-five (35) days after
this Interim Order, the DIP Facility shall terminate on a date
                                                                 the Final Order, in form and
 entry of this Interim Order unless the Court shall have entered
                                                                     Discretion (as defined in the
 substance reasonably satisfactory to the DIP Agent in its Permitted
                                                               the Required Pre-Petition
 DIP Credit Agreement), the Required Pre-Petition Lenders, and
                                                                     date as may be agreed to by
 Holders in their reasonable discretion, by such date (or such other
                                                                and the Required Pre-Petition
 the Debtors, the DIP Agent, the Required Pre-Petition Lenders,

 Holders).
                                                                                    the extent not
          2.       Objections Qverruled. All objections to the Interim Financing to

 withdrawn or resolved are hereby overruled.
                                                                                  Debtors .are
          3.       Authorization of the DIP Financing and DIP Loan Documents. The
                                                                  e and deliver the DIP Loan
 expressly and immediately authorized and empowered (a) to execut
                                                                 incur and to perform the DIP
 Documents, subject_ to the conditions precedent therein, (b) to


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Obligations in accordance with, and subject to, the terms of this Interim Order, the DIP Loan

Documents, and the Budget, and (c) to deliver all instruments and documents that may be

necessary or required for performance by the Debtors under the DIP Facility and the creation and

perfection of the I~IP Liens described in and provided for by this Interim Qrder and the SIP

Loan Documents.         The Debtgrs are hereby authorized to pay the principal, interest, fees,

                                                                                   and
expenses, and other amounts described in the DIP Loan Documents as such become due
                                                                                         fees,
without need to obtain further Court approval, including, without limitation, commitment
                                                                                     Documents,
unused line fees, administrative fees, any additional fees set forth in the DIP Lpan
                                                                                advisers,
and the reasonable fees and disbursements of the DIP Credit Parties' attorneys,
                                                                                       ts, with
accountants, and other consultants, all to the extent provided in the DIP Loan Documen
                                                                               and proceeds,
invoices to be provided in accordance with Paragraph 28 below. All collections
                                                                               ce recoveries,
whether from ordinary course collections, asset sales, debt issuances, insuran
                                                                             this Interim Order and
condemnations, or otherwise, will be deppsited and applied as required by

the DIP Loan Documents.          Upon execution and delivery, the DIP Loan Documents shall.

                                                                                           ble against
represent valid and binding, and joint and several, obligations of the Debtors, enforcea

each of the Debtors and their estates in accordance with their terms.

         4.       Authorization to Borrow. Until the Termination Date (as defined in the DIP
                                                                                         and reserves
 Credit Agreement), and subject to the terms, conditions, limitations on availability,
                                                                                and in order to
 set forth in the DIP Loan Documents, the DIP Facility, and this Interim Order,
                                                                             are hereby
 prevent immediate and irreparable harm to the Debtors' estates, the Debtors
                                                                                 basis up to an
 authorized to request extensions of credit under the DIP Facility on an interim
                                                                        subject to anal in
 aggregate principal amount of $22,500,000 at any one time outstanding,
                                                                         Loan Documents (the
 accordance with the Budget, the Interim Order, and the terms of the DIP

 "Interim Financing").


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        5.       DIP Obligations.   The DIP Loan Documents and this Interim Order shall

constitute and evidence the validity and binding effect of the Debtors' DIP Obligations, which

DIP Obligations shall be enforceable against the Debtors, their estates, and any successors

thereto, including without limitation, any trustee or other estate representative ap~aointed in the

Cases, ~r any case under Chapter 7 of the Bankruptcy Code upon the conversion pf any of the

Cases (collectively, "Successor Cases"). Upon entry of this Interim Order, the DIP Obligations

will include all loans and any other indebtedness or obligations, contingent or absolute, which

may now qr from time to time be owing by any of the Debtors to any of the DIF Credit Parties
                                                                                                 ,
under the DIF Loan Documents or this Interim Order, including, without limitation, all principal
                                                                                DIP Loan
accrued interest, costs, fees, expenses, and other amounts owed pursuant to the

Documents, and shall be joint and several obligations of the Debtors in all respects.

        6.        DIP Liens and DIP Collateral. Effective immediately upon the entry of this
                                                                                         under the
Interim Order, the DIP Agent (for the benefit of itself and the other DIP Credit Parties
                                                                                        dable,
DIP Loan Documents) is hereby granted, continuing valid, binding, enforceable, non-avoi
                                                                                 liens on
and automatically and properly perfected post-petition security interests in and

(collectively, the "DIP Liens"} any and all presently owned and hereafter acquired assets and
                                                                                  including,
real and personal property of the Debtors as set forth in the DIP Loan Documents,
                                                                                         es, (e)
 without limitation (a) all Accounts, (b)Inventory, (c) Equipment, (d) General Intangibl
                                                                                  Rights, (h)
 Payment Intangibles, (~ Chattel Paper, (g)letters of credit and Letter of Credit

 Proprietary Rights,(i) Instruments and promissory notes, (j) Documents and documents of title,
                                                                                     goods
(k) Investment Property,(1) Deposit Accounts,(m)Commercial Tort Claims,(n) all other
                                                                                             ts,
 and personal property, whether tangible or intangible including money, cash, cash equivalen
                                                                                        y by such
 securities and other personal property of any kind (whether held directly or indirectl
                                                                                       all other
 Borrower), (o) all books and records, whether in tangible or intangible form, and (p)


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assets, if any, and, in each case all accessions tn, substitutions for and replacements, products,

and proceeds (including all "proceeds" as defined in Section 9.102 of the UCC and, including all

dividends and other income from the DIP Collateral, collections thereon or distributions with

respect thereto) of any of the foregoing; provided, however, that in no event shall the DIP

Collateral include any Excluded Property (each term as defined in the DIP Credit Agreement)

(collectively, the "DIP Collateral"), as follows:

                  (a)       A perfected first-priority lien in all unencumbered property of each of the

         Debtors pursuant to Section 364(c)(2) of the Bankruptcy Code;

                   (b)      A perfected junior lien in all property of each of the Debtors subject to (i)

         valid, perfected, and non-avoidable liens in favor of third parties in existence as of the

         Petition Date (other than the Pre-Petition Liens), (ii) valid and unavoidable permitted

         encumbrances in existence as of the Petition Date that are subsequently perfected

         pursuant to Section 546(b) of the Bankruptcy Code, only to the extent such permitted

         encumbrance is not otherwise primed by the DIP Facility, and (iii) permitted liens as

         expressly set forth in the DIP Loan Documents (collectively, the "Permitted Liens"),

         pursuant to Section 364(c)(3) of the Bankruptcy Code; and

                   (c)          Afirst-priority, senior priming lien on all property of the Debtors securing

         the Domestic Credit Facility and Second Lien Notes, including any Cash Collateral

          thereof, pursuant to Section 364(d)(1) of the Bankruptcy Code, subject to the Permitted

          Liens.

 Effective upon the entry of this Interim Order and until the payment in full in cash of all DIP

 Obligations and the termination of the DIP Credit Parties' obligations to extend credit under the

 DIP Loan Documents, all DIP Liens and the DIP Carve-Out shall each be and remain at all times

 senior to the Pre-Petition Liens.


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       7.       DIP Lien Priority.

               (a)       DIP Liens. The DIP Liens shall be junior only to the (i) DIP Carve-Out

       and (ii) the Permitted Liens, and shall otherwise be senior in priority and superior to the

       pre-Petitipn Liens and any other security, mortgage, collateral interest, lien, or claim on

       qr to any Debtor's property constituting the DIP Collateral.

                (l?)     Seniority. Other than as set forth herein or as further ordered by the Gourt,

       the DIP Liens shall npt be made subject to or pari passu with any lien or security interest

       heretofore or hereinafter granted in the Cases or any Successor Cases. The DIP Liens

       shall be valid and enforceable against any trustee or other estate representative appointed

       in the Cases or any Successor Cases, upon the conversion of any of the Cases to cases

       under Chapter 7 of the Bankruptcy Code (or in any other Successor Cases), and/or upon

       the dismissal of any of the Cases or Successor Cases. The DIP Liens shall not be subject
                                                                                    lien or
       to challenge under Sections 510, 549, 550; or 551 of the Bankruptcy Code. No

        interest avoided and preserved for the benefit of the estate pursuant to Section 551 of the

        Bankruptcy Gode shall he pari passu with or senior to the DIP Liens.

                (c)          Pre-Petition Senior Liens. FQr the avoidance of doubt, the Pre-Petition

        Liens, including with regard to Cash Collateral, shall be junior to the (i) DIP Carve-Out

        and (ii) DIP Liens.

        8.       DIP Super-Priority Claim.

                (a)          DIP Credit Parties' Super-Priority Claim. Upon entry of this Interim

        Order, the DIP Agent (for the benefit of itself and the other DIP Credit Parties under the

        DIP Loan Documents) is hereby granted, and all DIP Qbligations shall constitute,

        pursuant to Section 364(c)(1) of the Bankruptcy Code, an allowed super-priority

        administrative expense claim in each of the Cases and any Successor Cases (collectively,


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       the "DIP Super-Priority Claim") with priority over any and all administrative expenses,

       diminutign claims, rights in Cash Collateral of the Pre-Petition Secured Creditors, and all

       other claims against the Debtors, now existing or hereafter arising, Qf any kind

       whatsoever, including, without limitation, all administrative expenses of the kind

       specified in Sections 503(b) and 507(b) of the Bankruptcy Code, and aver any and all

       administrative expenses or other claims arising under Sections 105, 32h, 328, 330, 331,

       506(c), 726, 1113, or 1114 of the Bankruptcy Code, whether or not such expenses or

       claims may became secured by a judgment lien or other non-consensual lien, levy, or

       attachment, which DIP Super-Priority Claim shall be payable from and have recourse to

       all pre- and post-petition property of the Debtors and their estates and all proceeds

       thereof, subject only to the DIP Liens, the DIF Carve-Out, and Permitted Liens.

                (b)          Priority of DIP Super-Priorit~im. The DIP Super-Priority Claim shall

        be payable from and have recourse to all pre- and post-petition property of the Debtors

        and all proceeds thereof, subject only to the payment in full in cash of the DIP

        Obligations, the DIP Carve-Out, and amounts secured by the Permitted Liens. Upon

        entry of the Final Qrder, the DIP Super-Priority Claim shall be payable from or have

        recourse to proceeds of all claims or causes of action to avoid a transfer of property (or an

        interest in property) or an obligatign incurred by the Debtors pursuant to any applicable

        section of the Bankruptcy Code, including, without limitation, Chapter 5 and Section

        724(a) of the Bankruptcy Code (the "Avoidance Actions").

        9.       No Obligation to Extend Credit. No DIP Credit Party shall have any obligation to

make any loan or advance under the DIP Loan Documents unless all of the conditions precedent

to the making of such extension of credit under the applicable DIP Loan Documents and this
                                                                                             .
Interim Order have been satisfied in full or waived by the DIP Agent in its sole discretion


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        1 p.     Use of DIP Facility Proceeds. From and after the Petition Date, the Debtors shall

use advances of credit under the DIP Facility only for the purposes specifically set forth in this

Interim Order, the nIP Loan Documents, and in compliance with the Budget anal as otherwise

provided hereunder and under the DIP Loan Documents.

        11.      Authorizatign to Use Cash Collateral. The Pre-Petition Collateral includes cash

collateral within the meaning of Section 363(a) of the Bankruptcy Code. Any proceeds pf the

Pre-Petition Collateral are cash collateral of the Pre-Petition Secured Creditors within the

meaning of Section 363(a) of the Bankruptcy Code. Except as otherwise specifically provided

for herein, cash collateral of any of the Pre-Petition Secured Creditors within the meaning of

Section 363(a) of the $ankruptcy Code (including, without limitation, all proceeds of Pre-

Petition Collateral) is collectively referred to herein as "Cash Collateral." Subject to the terms

and conditions of this Interim Order and the DIP Loan Documents, and in accordance with the

Budget and as otherwise provided hereunder and under the DIP Loan Documents, the Debtors

are authorized to use Cash Collateral until the Termination Date in accordance with the terms

and provisions of the Budget; provided that the Pre-Petition Secured Creditors are granted and
                                                                                               the
provided adequate protection in accordance herewith; provided, further, that notwithstanding

occurrence of the Termination Date, the Debtors may use Cash Collateral to fund the DIP Carve-

Out in accordance with the terms of this Interim Order. Nothing in this Interim Qrder shall

authorize the disposition of any assets of the Debtors or their estates outside the ordinary course

 of business (which shall be subject to further orders of this Court), or any Debtor's use of any

 Cash Collateral or other proceeds resulting therefrom, except as permitted in this Interim Order,

 the DIP Loan Documents, and in accordance with the Budget and as otherwise provided

 hereunder and under the DIP Loan Documents.




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        12.       Adequate Protection. The Pre-Petition Secured Creditors are entitled, pursuant to

Sections 361, 363(e), and 364(d)(1) of the Bankruptcy Code,' to adequate protection of their

interests in the Pre-Petition Collateral, including the Cash Collateral, including, without

limitation, as a result pf any diminution in value resulting from the sale, lease, or use by the

Debtors (or other decline in value) of Cash Collateral and any other Pre-Petition Collateral, the

griming of the T're-Petition Liens in the Pre-Petition Collateral by the DIF Liens and the DIP

Carve-Qut pursuant to the DIP Loan Documents and this Interim Order, and. the imposition of

the automatic stay pursuant to Section 362 of the Bankruptcy Code. As adequate protection, the

Pre-Petition Secured Creditors are hereby granted the following (collectively, the "Adeauto

Protection Obligations",):

                  (a)       Senior Adequate Protection Liens. The Pre-Petition Agent (for the benefit

        of the Pre-Petition Secured Lenders) is hereby granted (effective and perfected upon the
                                                                                             of
        date of this Interim Order and without the necessity of the execution by the Debtors

        mortgages, security agreements, pledge agreements, financing statements, or other

        agreements) a senior replacement security interest in and lien upon all the DIP Collateral,

        subject and subordinate only to the DIP Liens and the DIP Carve-Out(such liens securing

        the senior Adequate Protection Obligations, the "Senior Adequate Protection Liens").

        Without limiting the generality of the foregoing, the Senior Adequate Protection Liens

        granted to the Pre-Petition Agent hereunder shall be junior in all respects to the DIP Liens

         and the DIP Carve-Out.

                   (b)          Second Priority Adequate Protection Liens. The Indenture Trustee (for

          the benefit of the Pre-Petition Holders) is hereby granted (effective and perfected upon
                                                                                                     of
          the date of this Interim Order and without the necessity of the execution by the Debtors
                                                                                      other
          mortgages, security agreements, pledge agreements, financing statements, or


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      agreements) a junior replacement security interest in and lien upon all the DIP Collateral,

      subject and subordinate only to the DIP Liens, the DIP Carve-Out, and the Senior

       Adequate Protection Liens (such liens secuxing the junior Adequate Protection

       Obligations, the "Second Priority Adequate Protection Liens," and together with the

       Senior Adequate Protection Liens, the "Adequate Protection Liens"). Without limiting

       the generality of the foregoing, the Second Priority Adequate Protection Liens granted to

       the Indenture Trustee hereunder shall be junior in all respects to the DIF Liens, the DIP

       Carve-Out, and the Senior Adequate Protection Liens.

               (c)      Senior Adequate Protection Claim. The Pre-Petition Agent and the Fre-

       Petition Secured Lenders are hereby granted, subject to the DIP Super-Priority Claim and

       the DIP Carve-Out, asuper-priority claim, as provided for in Section 507(b) of the

       Bankruptcy Code (the "Senior Adequate Protection Claim"), immediately junior to the

       DIP Super-Priority Claim and payable from and having recpurse tq all pre-petition and

       post-petition property of the Debtors and all proceeds thereof (including, upon entry of

       the Final Order, proceeds of the Avoidance Actions).

               (d)          Second Priority Adequate Protection Claim. The Indenture Trustee and

       the Pre-Petition F~glders are hereby granted, subject to the DIP Super-Priority Claim, the

       DIP Carve-Out, and the Senior Adequate Protection Claim, asuper-priority claim, as

        provided for in Section 507(b) of the Bankruptcy Code (the "Second Priority Adequate

        Protection Claim," and together with the Senior Adequate Protection Claim, the

       "Adequate Protection Claim"), junior to the DIP Super-Priority Claim and the Senior
                                                                                         all
        Adequate Protection Claim, respectively, and payable from and having recourse to
                                                                                                 g,
        pre-petition and post-petition property of the Debtors and all proceeds thereof(includin

        upon entry ofthe Final Order, proceeds ofthe Avoidance Actions).


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                 (e)       Fees and Expenses. As additional adequate protection in accordance with

       Sections 361 and 363 of the Bankruptcy Code, the Debtors are authorized and directed t~

       pay, subject in all respects tq this Interim Qrder aMd the Budget, on an ongoing basis any

       reasonable and documented fees, costs, and expenses reasonably incurred by or payable

       to the Ad Hoc Committee of Pre-Petition Secured Creditors and the Fre-Petition Agent,

       or to the applicable professionals, as appropriate, in accordance with the Fre-Petition

        Agreements and the Support Agreement (as defined in the Motion), reasonable and

        documented professional fees and expenses of the Ad Hac Cgmmittee of Pre-Petition
                                                                                    including,
        Secured Creditors, and the Pre-Petition Agent (both pre- and post-petition)
                                                                                           son
        without limitation, the fees and expenses of Paul, Weiss, Riflcind, Wharton &Garri
                                                                                            r LLP,
        LLP, Young Conaway Stargatt &Taylor LLP, and Freshfields Bruckhaus Deringe
                                                                                      one
        as counsel to the Ad Hoc Committee of Pre-Petition Secured Creditors, Blackst
                                                                                         tion
        Advisory Partners L.P., as financial advisor to the Ad Hoc Committee of Pre-Peti
                                                                                               tion
        Secured Creditors, and James Bates Brannan Groover, LLP, as counsel to the Pre-Peti
                                                                                a regular
        Agent (and any Delaware counsel retained by the Pre-Petition Agent), on
                                                                                         10-day
         monthly basis during these Cases without allowance by the Court, subject to the

         notice and objection period set forth below following receipt of any such invoice.

         Professionals for the Ad Hoc Committee of Pre-Fetition Secured Creditors and the Pre-
                                                                                       be
         Petition Agent (collectively, the "Ad Hoc Committee Professionals") shall not
                                                                                          and
         required to comply with the U.S. Trustee fee guidelines with regard to such fees
                                                                                             ve
         expenses. The Ad Hoc Committee Professionals shall deliver a copy of their respecti
                                                                                                tion
         invoices, redacted as necessary with respect to any privileged or confidential informa
                                                                                     the U.S.
         contained therein, to the Debtors, counsel for any Statutory Committee, and
                                                                                      budgeted
         Trustee, and, to the extent the amounts requested therein exceed the amounts


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      therefore during the applicable period set forth in the Budget, to the DIP Agent. Any

       objections raised l?y the Debtors, the U.S. Trustee, or any Statutpry Cpmmittee, or, if

       applicable, the DIP Agent, with respect to such invoices within ten (10) days of the

       receipt thereof will be resolved ley the Court. Pending such resolution, the undisputed

       portipn of any such invoice will be paid promptly by the Debtors.

                (fj      The Adequate Protection Obligations (i) shall not be subject to Sections

       510, 549, 550, or 551 of the Bankruptcy Code or, subject to entry of the Final Order,

       Section 506(c) ~f the Bankruptcy Code or the "equities of the case" exception of Section

       552 of the $ankruptcy Code, (ii) shall not be subordinate to, or paNi passu with,(x) any

       lien that is avoided and preserved for the benefit of the Debtors and their estates under

       Section 551 of the Bankruptcy Code or otherwise or (y) any intercompany or affiliate

       liens or claims of the Debtors, and (iii) shall be valid and enforceable against any trustee

       or any other estate representative appointed in these Cases or any Successor Cases and/or

        upon the dismissal of any of these Cases.

                (g)          Any modification or extension of this Interim Order with respect to the

        Adequate Protection Obligations shall require the prior written consent of the Required

        Pre-Petition Lenders and the Required Pre-Petition Holders, unless otherwise ordered by

        the Court.

        13.      Sufficiency of Adequate Protection. The Pre-Petition Agent, the Indenture Trustee
                                                                                        on
and the Ad Hoc Committee of Pre-Petition Secured Creditors, on behalf of themselves and

behalf of the Pre-Petition Secured Creditors, may request Court approval for additional or

alternative adequate prptection, without prejudice to any objection of the Debtors or any other

party-in-interest to the grant of any additional or alternative adequate protection; provided,




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however, that any such additipnal or alternative adequate protection shall at all times be

subordinate and junior to the DIP Super-Priority Claim,the DIP Liens, and the DIP Carve-Out.

        14.      No Unauthorized Disposition of Assets. Nothing in this Interim Order shall

authgrize the disposition of any assets of the Debtors or their estates outside the ordinary cqurse

of business (which shall be subject to further orders of this Court), or any Debtor's use of any

Cash Collateral ~r ether proceeds resulting therefrom, except as permitted in this Interim Order,

the DIP Loan Documents, and in accordance with the Budget and ~s otherwise provided

hereunder and under the DIP Loan Documents.

        15.      Arrzendments. The DIP Loan Documents may from time to time he amended,

modified, qr supplemented by the parties thereto without notice or a hearing if: (a) in the

reasonable judgment of the Debtors, the DIP Agent, the Required Pre-Petition Lenders, and the

Required Pre-Petition Holders, the amendment, modification, or supplement (i) is in accgrdance

with the DIP Loan Documents,(ii) is not prejudicial in any material respect to the rights of third

parties, and (iii) has been cgnsented to by the DIP Agent, the Required Pre-Fetition Lenders, and

the Required Pre-Petition Holders, and (b) a copy (which may be provided through electronic

mail or facsimile) of the form of amendment, modification, or supplement is provided to counsel

for any Statutory Committee and the U.S. Trustee at least qne (1) Business Day prior to the

effective date of the amendment, modification, or supplement.

         16.      Budget Modifications. The Budget and any modification to, or amendment or

update of, the Budget shall be in form and substance reasonably acceptable to the DIP Agent, the

 Required Pre-Petition Lenders, and the Required Pre-Petition Holders and approved by the DIP

 Agent in its Permitted Discretion, and the Required Pre-Petition Lenders and the Required Pre-

 Petition Hglders in their reasonable discretion.




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        17.     Budget Updates. The Debtors shall comply with and update the Budget from time

to time in accordance with the DIP Loan Documents (provided that any update shall be in form

and substance reasonably acceptable to the DIP Agent, the Required Pre-Petition Lenders, and

the Required Pre-Petition Holders and approved by the DIP Agent in its Permitted Discretion,

the Required Pre-Petition Lenders, and the Required Pre-Petition Holders in their reasonable

discretion). The Debtors have delivered to the DIP Agent and the Ad Hoc Ggmmittee of Fre-

Petition Secured Creditors the initial 13-week Budget showing all projected cash receipts and all

projected cash disbursements (with detail as to sources of cash receipts and identification of cash

disbursements) for the Debtors during such initial 13-week period, with inclusion of the

following line items: callectians, total net cash flow, and available domestic cash, which shall be

subject to reaspnable approval by the DIP Agent, the Required Pre-Petition Lenders, and the
                                                                                   Closing
Required Pre-Petition Holders. Commencing the second (2nd) full week following the
                                                                                             e
Date (on each Thursday), -the Debtors shall deliver to the DIP Agent and the Ad Hoc Committe

of Pre-Petition Secured Creditors, every two (2) weeks, an updated, rolling 13-week budget

(each a "Budget"), which sets forth by line item updated projected receipts and disbursements

for the Debtors during the period commencing from the end of the previous two-week period

through and including 13 weeks thereafter, which Budget shall be in form similar to the initial

 Budget and subject to reasonable approval by the DIP Agent, the Required Pre-Petition Lenders,
                                                                                              the
 and the Required Pre-Petition Holders. The Debtors shall still re subject to and governed by

 terms of the immediately preceding Budget approved by the DIP Agent, the Required Pre-

 Petition Lenders, and the Required Pre-Petition Holders and then in effect and the DIP Credit
                                                                                               n
 Parties, the Pre-Petition Secured Lenders and the Pre-Petition Holders shall have no obligatio to
                                                                                               such
 fund to such updated Budget or permit the use of Cash Collateral with respect thereto until
                                                                                            Holders
 time as the DIP Agent, the Required Pre-Petition Lenders, and the Required Pre-Petition


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notify the Debtors that such updated Budget has been approved; provided that the DIP Credit

Parties and the Pre-Petition Secured Creditors shall he deemed to have consented to such updated

Budget unless they shall object thereto to the Debtors within five (S) Business Days after having

received such updated Budget. By Thursday of the week following (a) the end pf the first full

calendar week fallowing the Closing Date and (b) each calendar week thereafter the Debtors

shall deliver tp the DIP Agent and the Ad Hoc Committee of Pre-Petition Secured creditors a

variance report(a "Variance Report") showing comparisons of actual results for each operating

line item against such line item in the approved Budget for such preceding week and on a

cumulative basis for the four immediately preceding weeks (or if fewer than four weeks have

lapsed since the Closing Date, cumulatively from the Closing Date). Each Variance Report shall

indicate whether there are any adverse budget variances that exceed the Permitted Variances (it

being understood that the initial Variance Report due the first full calendar week following the

Closing Date is a report only). Compliance with the Budget shall be tested (i) for the first two

(2) weeks following the Closing Date, on a cumulative basis, (ii) for the first three (3) weeks

following the Closing Date on a cumulative basis, and (iii) thereafter weekly on a rolling four(4)

week basis. "Permitted Variances" shall mean an adverse variance in an amount not to exceed

15% of the amounts set forth for total receipts or total disbursements on a four-week rolling basis

(or if fewer than four weeks have lapsed since the Closing Date, cumulatively from the Closing

Date); provided that Permitted Variances of total receipts shall be (A) 25% measured on a

cumulative basis for the first two (2) full weeks following the Closing Date and (B) 20%

 measured on a cumulative basis for the first three (3)full weeks following the Closing Date.

         18.      Modification of Automatic Stay. The automatic stay imposed under Section

 362(a) of the Bankruptcy Code is hereby modified as necessary to effectuate all of the terms and

 provisions of this Interim Order, including, without limitation, to: (a) permit the Debtors to grant


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the DIP Liens, DIP Super-Priority Claim, the Adequate Protection Liens, and the Adequate

Protection Claim; and (b) authorize the Debtors to pay, and the DIP Credit Parties and the Pre-

Petition Secured Creditors to retain and apply, payments made in accordance with the terms ~f

this Interim Order.

        19.      Perfection of DIP Liens and Adequate Protection Liens.

                 (a)       Automatic Perfection of Liens. This Interim Qr~er shall be sufficient and

        conclusive evidence of the validity, perfection, and priority of all liens granted herein,

        including the DIP Liens and the Adequate Protection Liens, without the necessity of
                                                                                           or
        filing or recording any financing statement, mortgage, notice, or other instrument
                                                                                any
        document which may otherwise be required under the law or regulation of
                                                                                        doubt,
        jurisdiction or the taking of any other action (including, for the avoidance of

         entering into any deposit account control agreement, collateral access agreement, customs
                                                                                               nce
         broker agreement, or freight forwarding agreement) to validate or perfect (in accorda
                                                                                      Liens, or
         with applicable non-bankruptcy law) the DIP Liens or the Adequate Protectipn
                                                                                        priorities
         to entitle the DIP Credit Parties or the Pre-Petition Secured Creditors to the

         granted herein.       Notwithstanding the foregoing, the DIP Agent, in its Permitted
                                                                                              , in
         Discretion, the Required Pre-Petition Lenders, and the Required Pre-Petition Holders
                                                                                                es,
         their reasonable discretion, are authorized to file such financing statements, mortgag
                                                                                 perfect in
         notices of liens, and other similar documents as they deem necessary to
                                                                                            DIP
         accordance with applicable non-bankruptcy law or to otherwise evidence any_ of the
                                                                                            es,
         Liens or the Adequate Protection Liens, and all such financing statements, mortgag
                                                                                    d as of the
         notices, and other documents shall be deemed to have been filed or recorde
                                                                                                ry or
         Petition Date; provided, however, that no such filing or recordation shall be necessa
                                                                                         Protection
          required in order to create, perfect, or enforce the DIP Liens or the Adequate


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       Liens. The Debtors are authorized to execute and deliver promptly upon demand to the

       DIP Agent, the Pre-Petition Agent, and the Indenture Trustee all such financing

       statements, mprtgages, control agreements, notices, and other documents as the DIP

       Agent, the Required Pre-Petition Lenders, and the Required Pre-Petitign Holders may

       reasonably request. The DIP Agent, in its Permitted Discretion, and the Pre-Petition

        Agent and the Indenture Trustee, in their reasonable discretion, may file a photocopy of

       this Interim Order as a financing statement with any filing or recording office or with any

        registry of deeds or similar office, in addition to or in lieu of such financing statements,

        notices of lien, or similar instrument.

        20.      Application of Proceeds of DIP Collateral.

                 (a)          The proceeds of DIP Collateral shall be applied as follows: (i) all

        payments received by the DIP Agent in respect of any DIP Obligations, and (ii) all net

        proceeds from any disposition of any DIP Collateral, each shall be applied as follows:

       first, to payment of fees, costs, and expenses payable and reimbursable by the Debtors

        under the DIP Credit Agreement and the other DIP Loan Documents; second, to payment

        of all DIP Obligations in accordance with the DIF Loan Documents; and third, to the

        Debtors' operating account, or for the account of and paid to whoever may be lawfully

        entitled thereto.

                 (b)          As between the DIP Agent, the DIP Lenders, and the other DIP Credit

        Parties, nothing provided herein shall be deemed to modify the allocation of the proceeds

        of DIP Collateral set forth in the DIP Loan Documents.

                 (c)          The Debtors shall npt, directly or indirectly, voluntarily purchase, redeem,

         defease, or prepay any principal of, premium, if any, interest, or other amount payable in

         respect of any indebtedness prior to its scheduled maturity, other than the DIP


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        Obligations (in accordance with the DIP - Loan Documents and this Interim Order) and

        obligations authprized by an order of the Court.

        21.      Proceeds of Subsequent Financing. If the Debtors, any trustee, any examiner with

enlarged powers, any responsible officer, or any ether estate representative subsequently

appointed in these Cases or any Successor Cases shall obtain credit or incur debt pursuant to
                                                                       of the DIP Lean
Sections 364(b), 364(c), or 364(d) of the Bankruptcy Code in violation

Documents at any time prior to the repayment in full of all DIP Obligations and the termination
                                                                                         g
of the DIP Credit Parties' obligations to extend credit under the DIP Facility, includin
                                                                                              any or
subsequent to the confirmation of any plan of reorganization or liquidation with respect to
                                                                                                   or
all of the Debtors and the Debtors' estates, then all the cash proceeds derived from such credit
                                                                                  in the DIP
debt shall immediately be turned over to the DIP Agent to be applied as set fprth

Credit Agreement.

        22.       Maintenance of DIP Collateral. Until the payment in full .in cash of all DIP
                                                                                        under the
Obligations and the termination of the DIP Credit Parties' obligations to extend credit
                                                                                        l as
DIP Loan Documents, as provided therein, the Debtors shall: (a) insure the DIP Collatera
                                                                               has been
required under the DIF Facility; (b) maintain the cash management system which
                                                                             ts; and
agreed to by the DIP Agent, or as otherwise required by the DIP Loan Documen
                                                                                      in   DIP
(c) comply with any and all obligations with regard to the DIP Collateral as set forth the

Loan Documents.

         23.      Disposition of DIP Collateral. Unless otherwise authorized by the Court, the

                                                                                              DIP
Debtors shall not sell, transfer, lease, encumber, or otherwise dispose of any portion of the
                                                                                        Interim
 Collateral except as permitted by the DIP Loan Documents, subject to the terms of this
                                                                                        Petition
 Order. Nothing provided herein shall limit the right of any DIP Credit Party, the Pre-




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Secured Lender, the Indenture Trustee or the Ad Hoc Committee of Pre-Petition Secured

Creditors to ohj~ct to any proposed disposition of the DIP Collateral.

        24.      Termination Date. On the Termination Date, subject to satisfaction of a five-day

.notice requirement after the occurrence of an Event of Default,(a) all DIP Obligations shall be

immediately due and payable and all commitments.to extend credit under the DIP Facility will

terminate and (b) all authority to use Cash Collateral shall cease.

        25.       Events of Default. The occurrence of an "Event of Default" under the DIP Credit
                                                                                         of
Agreement shall constitute an event of default under this Interim Order (each, an "Event
~~,~
De

        26.       Rights and Remedies Upon Event of Default.             Upon the earlier of (a) the

                                                                                             Default
Termination Date pr (b) the Debtors' receipt of notice of the occurrence of any Event of
                                                                                     the DIP
(the Debtors' receipt of such notice of an Event of Default, a "Termination Event"),
                                                                                         without
 Agent(on behalf of the DIP Credit Parties) may take all or any of the following actions
                                                                                          declare
further order of or application to the Court, and notwithstanding the automatic stay: (a)
                                                                                         to be
 the principal of, and accrued interest on, any qufstanding loans under the DIP Facility

 immediately due and payable; or (b) terminate any further commitment to lend to the Debtors.
                                                                                         ons
 Upon the Termination Date or the occurrence of a Termination Event, and unless obligati

 under the IaIP Facility shall have been paid in full, the DIP Agent may (i) set-off any amounts
                                                                                               for the
 held as Cash Collateral (including, without limitation, in any Cash Collateral account held
                                                                                                or
 benefit of the DIP Credit Parties), and (ii) take any other action or exercise any other right
                                                                                           (on
 remedy (including; without limitation, with respect to the liens granted to the DIP Agent
                                                                                             d
 behalf of the DIP Credit Parties) under this Interim Order and the DIP Collateral) permitte
                                                                                                  and
 under the DIP Facility or under applicable law, including, withput limitation, exercising any
                                                                                            only to
 all rights and remedies with respect to the DIP Collateral or any portion thereof, subject


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satisfaction of a five-day notice requirement after occurrence of an Event of Default. Any

automatic stay ptherwise applicable to the DIF Agent shall be modified so that five (5) days after

the occurrence of the 'Termination Event, the DIP Agent (on behalf of the DIP Credit Parties)

shall be entitled to exercise all rights and remedies against the DIP Collateral and shall be

permitted to satisfy its DIP Liens and DIP Super-Priority Claim, subject to the ~~F Carve-Out

and the Permitted Liens. During such five-day period, the Debtors shall be entitled t~ seek an

emergency hearing. Unless the Court determines otherwise during such five-day period, subject

to tglling based on the Court's earliest available date for such hearing, the automatic stay shall

automatically be terminated without further application, motion, notice, or order and the DIP

Agent (on behalf of the DIP Credit Parties) shall be permitted to exercise all remedies with

regard to the DIP Collateral. Until such hearing occurs, the Debtors shall have the right to

continue to use Cash Collateral as set forth in the Budget. The five-day notice period set forth

above shall run concurrently with any notice period provided for under the DIP Loan

Documents.

         27.      Good Faith Under Section 364 of the Bankruptcy Code; No Modification or Stay

of this Interim Order. 'The DIP Credit Parties and the Ad Hoc Committee of Pre-Petition

Secured Creditors have acted in good faith in connection with this Interim Order and their

reliance on this Interim Order is in good faith. Based on the findings set forth in this Interim

Order and the record made during the Interim Hearing, and in accordance with Section 364(e) of

the Bankruptcy Code, in the event any or all of the provisions of this Interim Order are hereafter

modified, amended, or vacated by a subsequent order of this Court, or any other court, the DIP

Credit Parties and the Ad Hoc Committee of Pre-Petition Secured Creditors are entitled to the

 protections provided in Section 364(e) of the Bankruptcy Gode.          Any such modification,

 amendment, or vacatur shall not affect the validity and enforceability of any advances previously


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made or made hereunder, or lien, claim, or priority authorized or created hereby, provided that

the Interim Qrder was not stayed by court order after due notice had been given to the DIP

Agent, the Fre-Petition Agent, the Indenture Trustee, and the Ad Hoc Committee ~f Pre-Petition
                                                                                         were
Secured Creditors at the time the advances were made or the liens, claims, or priorities
                                                                                         Pr~-
authorized and/or created. Any liens or claims granted to the DIP Credit Parties and the
                                                                                     modification,
Petition Secured Creditors hereunder arising prior to the effective date of any such
                                                                              by the original
amendment, or vacatur of this Interim prder shall be governed in all respects
                                                                                 privileges, and
provisions of this Interim Order, including entitlement to all rights, remedies,

benefits granted herein.
                                                                                 to pay
        28.      DIP and Other Expenses. The Debtors are authorized and directed
                                                                     by the DIP Agent) all
(including by means of an advance or charge against its loan account
                                                                  DIP Facility (including,
reasonable out-of-pocket expenses incurred in connection with the
                                                                     the DIP Credit Parties,
without limitation, expenses incurred prior to the Petition Date) by
                                                                    -petition legal fees and
including, without limitation, the DIP Credit Parties' pre- and post
                                                              negotiation, preparation,
 expenses, documentation fees incurred in connection with the
                                                                              recording fees, credit
 execution, and performance of the DIP Loan Documents, UCC search and
                                                                       in connection with the
 reports, collateral auditing costs incurred by the DIP Credit Parties
                                                                            all other reasonable out-
 transactions contemplated herein, lien perfection fees and expenses, and
                                                                        fees) incurred by the DIP
 af-pocket expenses (including, but not limited to, appraisal and audit
                                                                        on, and performance of the
 Credit Parties in connection with the negotiation, preparation, executi
                                                                        subject to allowance
 DIP Loan Documents. Payment of all such fees and expenses shall not be
                                                                                d to comply with the
 by the Court and professionals for the DIP Credit Parties shall not be require
                                                                           shall deliver a copy of
 U.S. Trustee fee guidelines. The professionals for the DIP Credit Parties
                                                                            tee, counsel to the Ad
 their respective invoices to the Debtors, counsel for any Statutory Commit


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Hoc Committee of Pre-Petition Secured Creditors, and the U.S. Trustee, redacted as necessary

with respect t~ any privileged or confidential information contained therein. Any objections

raised by the Debtors, the U.S. Trustee, the Ad Hoc Committee of Pre-Petition Secured

Creditors, or any Statutory Committee with respect to such invoices within ten (10) days of the

receipt thereof will be resolved by the Court. Notwithstanding the foregoing, the Debtors are

authorized and directed to pay (including by means of an advance or charge against its lean

account by the DIP Agent) on the Closing Date all reasonable fees, costs, and expenses of the

DIP Credit Parties incurred on or prior to such date without the need for any professional

engaged by the DIP Credit Parties to first deliver a copy of its invoice as provided for herein.

        29.      Indemnification. Effective upon entry of the Final Order, the Debtors shall

indemnify and hold harmless the DIP Agent and, each other DIP Credit Party, and each of their
                                                                                           ,
respective shareholders, members, directors, agents, officers, subsidiaries and affiliates
                                                                                            s as
successors and assigns, attorneys, and professional advisors, in their respective capacitie
                                                                                                  ,
such, from and against any and all damages, losses, settlement payments, obligations, liabilities
                                                                                            and
claims, actions, or causes of action, whether groundless or otherwise, and reasonable costs
                                                                                       of every
expenses incurred, suffered, sustained, or required to be paid by an indemnified party
                                                                                               or
 nature and character arising out of or related to the DIP Loan Documents, or the DIP Facility
                                                                                               party
 the transactions contemplated thereby and by this Interim Order, whether such indemnified
                                                                                          as
 is party thereto, as provided in and pursuant to the terms of the DIP Loan Documents and
                                                                                                    or
 further described therein and herein, or in connection with these Cases, any plan, or any action

 inaction by the Debtors; provided that such indemnity shall not, as to any indemnified party, be
                                                                                             are
 available to the extent that such losses, claims, damages, liabilities, or related expenses
                                                                                     t to have
 determined by a court of competent jurisdiction by final and non-appealable judgmen
                                                                           ied party. The
 resulted from the gross negligence or willful misconduct of such indemnif


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indemnity includes indemnification for the DIP Agent's exercise of discretionary rights granted

under the DIP Facility. In all such litigation, or the preparation therefore, each of the DIP Agent

and each other DIP Credit Party shall be entitled to select its pwn counsel and, in addition t~ the

foregoing indemnity, the Debtors agree to promptly pay the reasonable fees and expenses of such

counsel.

        30.      Proofs of Claim.     Any order entered by the Court in relation to the

establishment pf a bar date for any claims (including without limitation administrative claims) in

any of the Cases ~r Successor Cases shall not apply to the DIP Credit Parties. None of the DIP

Credit Farties will be required.to file proofs of claim or requests for approval of administrative

expenses in any of the Cases or Successor Cases, and the provisions of this Interim Order

relating to the amount of the DIP Obligations and the DIP Super-Priority Claim shall constitute

timely filed proofs of claim and/or administrative expense requests.

         31.      Rights of Access and Information. Without limiting the rights of access and
                                                                                               DIP
information afforded the DIP Credit Parties and the Pre-Petition Secured Creditors under the

Loan Documents and the Pre-Petition Credit Documents, as applicable, the Debtors shall be, and
                                                                                           and
hereby are, required to afford representatives, agents, and/or employees of the DIP Agent,

the Ad Hoc Committee of Pre-Petition Secured Creditors access to the Debtors' premises and

 books and records in accordance with the DIP Loan Documents and the Pre-Petition Credit

 Documents, respectively, and shall reasonably cooperate, consult with, and provide to such

 persons all such information as may be reasonably requested. In addition, the Debtors authorize

 their independent certified public accountants, financial advisors, investment bankers, and

 consultants to cooperate, consult.with, and provide to the DIP Agent and the Ad Hoc Committee
                                                                                          with
 of Pre-Petition Secured Creditors to all such information as may be reasonably requested

 respect to the business, results of operations, and financial condition of any Debtor.


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       32.      DIP Carve-Out.

               (a)       DIP Carve-Out. As used in this Interim Order, the term "DIP Cai-ve-

       Out" shall mean, collectively: (i) fees payable to the U.S. Trustee pursuant to 28 U.S.C.

       § 1930(a)(6) or to the Clerk of the Bankruptcy Court(the "Case Administration Fees");

       (ii) unpaid professional fees and expenses (the "Debtor Professional Fees") payable to

       each legal or financial advisor, investment banker, or other professional retained by the

       Debtors (the "Debtor Professionals") that are incurred or accrued prior to the date of the

       occurrence of a Termination Event, but subject to the aggregate amounts set forth in the

       Budget (subject to Permitted Variances) and ultimately allowed by the Court pursuant to

        Sections 328, 330, 331, and 503 of the Bankruptcy Code or any order of the Court

       (whenever such fees may be actually incurred prior to the Termination Event); (iii)

        unpaid professional fees and expenses (together with the Debtor Professional Fees, the

       "Professional Fees") payable to each legal or financial advisor retained by a Statutory

        Committee, if any, that are incurred or accrued prior to the date of the occurrence of a

        Termination Event, but subject to the aggregate amounts set forth in the Budget as of

        such date (subject to Permitted Variances) and ultimately allowed by the Court pursuant

        to Section 328, 330, 331, and 503 of the Bankruptcy Code ar any order of the Court

       (whenever such fees may be actually incurred prior to the Termination Event); and (iv)

        Case Administration Fees and Professional Fees incurred on ar after the occurrence of a

        Termination Event in an aggregate amount not to exceed $2,000,000.00 (the "Carve-Out

        Tri~~er Amount"). Any Case Administration Fees and Professional Fees owing by the

        Debtors prior to the occurrence of a Termination Event shall be paid by the Debtors (in

        accordance with the approved Budget and pursuant to Court order); provided that the

        Debtor Professional Fees set forth in the Budget shall be funded by the Debtors into


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       segregated accounts for the benefit of the applicable Debtor Professionals or to the

       applicable Debtor Professionals on a monthly basis, and such accounts or amounts, as

       applicable, shall be free and clear of all liens, claims, and interests of any party other than

       the applicable Debtor Professionals (it being understgod that notwithstanding the

       foregoing, any funds remaining in such segregated accounts Qr any funds returned to the
                                                                                            he
       Debtors after payment of Debtor Professional Fees pursuant to Court order shall only

       subject to the liens, claims, and interests of the Debtprs, the DIP credit Parties and the

       Pre-Petition Secured Creditors) and such payments shall not reduce or be deemed to
                                                                                   Date ar a
       reduce the DIP Carve-qut. Notwithstanding the occurrence of the Termination

        Termination Event, nothing in this Interim Order limits, alters, or otherwise relieves the
                                                                                its loan
        Debtors from paying (including by means of an advance or charge against
                                                                                   of the DIP
        account by the DIP Agent) all reasonable fees and expenses incurred by any

        Credit Parties as required herein and in the DIP_ Loan Documents.

                 (h)           Carve-Out Trigger Deposit. Within one Business Day after the occurrence
                                                                                                    in
        of a Termination Event, the DIP Agent shall fund a final revolving loan to the Debtors
                                                                                       single
        the amount of the Carve-Out Trigger Amount. Such amount shall be funded into a
                                                                                               le
        segregated account that has been opened by the Debtors for the benefit of the applicab
                                                                                     by the
        Debtor Professionals (as identified to the DIP Agent by the Debtors) for use
                                                                                      on or
        Debtor for payment of Case Administration Fees and Professipnal Fees incurred

         after the occurrence of such Termination Event. Such account and amounts therein shall
                                                                                           the U.S.
         be free and Glear of all liens, claims, and interests pf any party other than (a)
                                                                                   financial
         Trustee, the applicable Debtor Professionals, and the applicable legal or
                                                                                        Case
         advisors retained by any Statutory Committee and (b) after the payment of such




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      Administration Fees and Professional Fees pursuant to Court order, the Debtors, the DIP

      Agent and the Pre-Petition Secured Creditprs with respect to any remaining funds.

               (c)       No Direct Obli action to Pav Professional Fees or Committee Expenses.

      Except for funding the Carve-Out Trigger Amount as provided herein, none of the DIP

       Credit Parties shall be responsible for the funding, direct payment, or reimbursement of

       any fees or disbursements of any Case Administration Fees or Professionals Fees

       incurred in connection with the Cases or any Successor Cases. Nothing in this Interim

       Order or otherwise shall be construed to obligate the DIP Credit Parties or the Fre-

       Petition Secured Creditors in any way to pay compensation to or to reimburse expenses
                                                                                           ng
       of any Debtor Professional or the professionals of any Statutory Committee (includi
                                                                                          t
       any Statutory Committee expenses), or to guarantee that the Debtors have sufficien
                                                                                Order or
       funds to pay such compensation or reimbursement. Nothing in this Interim

       otherwise shall be construed to increase the DIP Carve-Out if actual (a) allowed
                                                                                          than
       Professional Fees or (b) any other Case Administration Expenses are higher in fact

       the estimated fees and disbursements reflected in the Budget.

                (d)          Payment of DIP Carve-Out. The funding of the DIP Carve-Out shall be

                                                                                         l and
        added to and made a part of the DIP Obligations and secured by the DIP Collatera
                                                                                        Loan
        otherwise entitled to the protections granted under this Interim Order, the DIP

        Documents, the Bankruptcy Code, and applicable law.

        33.      Limitations on the Use of the DIP Facility, the DIP Collateral, Cash Collateral,

                                                                                          DIP
and the DIP Carve-Out. The DIP Facility, the DIP Collateral, the Cash Collateral, and the
                                                                               action, suit,
Carve-Out may not be used: (a) in connection with or to finance in any way any
                                                                                          to or
arbitration, proceeding, application, motion, or other litigation of any type (i) adverse
                                                                                     s or their rights
against the interests of the DIP Credit Parties or the Pre-Petition Secured Creditor


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and remedies under the DIP Loan Documents, the Pre-Petition Credit Documents, ~r this Interim

Order or the Final Order, including, without limitation, for the payment of any services rendered

by the professionals retained by any Statutory Committee in connection with the assertign of or

joinder in any claim, counterclaim, action, proceeding, application, motion, ~hjectign, defense,

or other contested matter, the purpose of which is to seek, or the result of which would be to

obtain, any order,judgment determination, declaration, or similar relief, (ii) invalidating, setting

aside, avoiding, or subordinating, in whole or in part, any DIP Obligation or the Pre-Petition

Obligations, (iii) for monetary injunctive, or other affirmative relief against the DIF Credit
                                                                                      hindering, or
Parties, the Pre-Petition Secured Creditors, or their collateral, or (iv) preventing,
                                                                                         Creditors of
otherwise delaying the exercise by the DIP Credit Parties or the Pre-Petition Secured
                                                                                          ts,
any rights and remedies under this Interim Order or the Final Order, the DIP Loan Documen
                                                                                         on (whether
the Pre-Petition Credit Documents, or applicable law, or the enforcement or realizati
                                                                             DIP Agent, the Pre-
by foreclosure, credit bid, further order of the Court, or otherwise) by the
                                                                                    Petition
Petition Agent, or the Indenture Trustee upon any of the DIP Collateral or the Pre-
                                                                                         in any Case;
 Collateral;(b) to make any distribution under a plan of reorganization or liquidation
                                                                                 any court,
(c) to make any payment in settlement of any claim, action, or proceeding before
                                                                                         person who
 arbitrator, or other governmental body;(d)to pay any fees or similar amounts to any
                                                                              objecting to,
 has proposed or may propose to purchase interests in any of the Debtors; (e)
                                                                                      tign Secured
 contesting, or interfering with, in any way, the DIP Credit Parties' or the Pre-Peti
                                                                                  Petition
 Creditors' enforcement or realization upon any of the DIP Collateral or the Pre-
                                                                                             Order or
 Collateral once an Event of Default has occurred, except as provided for in this Interim

 Final Order, or seeking to prevent the DIP Agent, the Fre-Petition Agent, the Indenture Trustee,
                                                                                           on
 or the Ad Hoc Committee of Pre-Petition Secured Creditors from credit bidding in connecti
                                                                                              to
 with any proposed plan pr reorganization or liquidation or any proposed transaction pursuant


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Section 3(3 of the Bankruptcy Code; (fj using or seeking to use Cash Collateral while the DIP

Obligations or the Pre-Petition Obligations remain outstanding in a manner inconsistent with the

Budget and the terms of this Interim Order or the Final Order;(g) using or seeking to use any
                                                                                      the consent
insurance proceeds constituting DIP Collateral or the Pre-Petition Collateral without
                                                                                           ;(h)
of the DIP Agent, the Required Pre-Petition Lenders, and the Required Pre-Petition Holders

incurring any obligations or indebtedness outside the ordinary course of business, except as
                                                                              (i) pl~jecting
permitted under the DIP Lean Dpcuments and the Pre-Petition Credit Documents;
                                                                                  of the DIP Credit
to or challenging in any way the claims, liens, or interests held by or on behalf
                                                                          or prosecuting any
Parties or the Pre-Petition Secured Creditors; (j) asserting, commencing,
                                                                                     under Chapter 5
claims or causes of action whatsoever, including, without limitation, any actions
                                                                                   Creditors; or
of the Bankruptcy Code, against the DIP Credit Parties or the Pre-Petition Secured
                                                                                     s to, the validity,
(k) prosecuting an objection to, contesting in any manner, or raising any defense
                                                                          Obligations, the Pre-
extent, amount, perfection, priority, or enforceability of any of the DIP
                                                                          rights or interests of the
Petition Obligations, the DIP Liens, the Pre-Petition Liens, or any other
                                                                         g    foregoing, the I~IP
 DIP Credit Parties or the Pre-Petition Secured Creditors. Notwithstandin the
                                                                          may be used in an
 Facility, the DIP Collateral, the Cash Collateral, and the DIP Carve-Out
                                                                        Statutory Committee, if
 amount not to exceed $SO,Q00 in the aggregate for fees incurred by the
                                                                                   of the Pre-Petition
 any, to investigate the validity, enforceability, perfection, priority, or extent
                                                                               ng the selection
 Liens or claims (each, a "Secured Party Claim") within sixty (60)-days followi

 of counsel to the Statutory Committee.

         34.     Reservation of Certain Third-Party Rights.           No later than the date (the

                                                                                         after the entry
 "Investigation Termination Date") that is the earlier of(i) seventy-five(75) days
                                                                                  ation of the Plan,   any
 of this Interim Order and (ii) the last day for filing objections to the confirm
                                                                          pursuant to order of
 Statutory Committee or any other party-in-interest with standing granted


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Court (other than the Debtors) may commence an appropriate contested matter or adversary

proceeding (a "Challenge") asserting any Secured Party Claim; provided, for the avoidance of

doubt, if the Cases are converted to Chapter 7 cases, then the trustee appointed in connection

therewith is permitted to bring a Challenge prior to the Investigation Termination Date. If a

Challenge is not filed nn or before the Investigation Termination Date (or such other later date as

extended by the written consent of the Required Pre-Petition Lenders and the Required Pre-

Petition Holders, or by order of this Court), then: (a) the agreements, acknowledgements, and

stipulations contained in Paragraph E of this Interim Order shall be irrevocably binding on the

Debtors, any Statutory Committee, and all parties-in-interest and any and all successors-in-

interest as to any of the foregoing, without further action by any party or this Court, and any

Statutory Committee and any other party-in-interest and any and all successors-in-interest as to

any of the foregoing, shall thereafter be forever barred from bringing any Challenge with respect

thereto; (b) the Pre-Petition Liens of the Pre-Petition Secured Creditors shall be deemed to
                                                                                               to
constitute valid, binding, enforceable, and perfected liens and security interests not subject

avoidance or disallowance pursuant to the Bankruptcy Code or applicable non-bankruptcy law;

and (c) the Pre-Petition Obligations shall, subject to this Interim Order, the DIP Liens, and the

DIP Super-Priority Claim, be deemed to be finally allowed claims for all purposes against each

of the Debtors, including in any Successor Cases and shall not be subject to challenge by any

party-in-interest as to amount, validity, priority, or otherwise. Notwithstanding anything to the

contrary herein: (x) if any such Challenge is timely commenced, the stipulations contained in

Paragraph E of this Interim Order shall nonetheless remain binding and preclusive on all parties-

in-interest (other than the party that has brought such Challenge in connection therewith) except

to the extent that such stipulations are successfully challenged in such Challenge; (y) the Pre-

 Petition Secured Creditors reserve all of their rights to contest on any grounds any Challenge;


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and (z) the Pre-Petition Sec~zred Creditors shall comply with any and all grders of the Court in

connection with a successful Challenge; provided, however, that the Pre-PetitioM Secured
                                                                                                    in
Creditprs preserve any and all of their rights to appeal and stay any orders of the Court issued

connection with such successful Challenge. For the avoidance of doubt, nothing in this Interim

Order vests or confers on any person (as defined in the Bankruptcy Cpde) standing or authority

to pursue any cause of action belonging to the Debtors or their estates.

        3S.      Payment of Compensation. Nothing herein shall be construed as consent to the
                                                                                              or shall
allpwance of any professional fees or expenses of any professionals retained in the Cases
                                                                               tipn Secured
affect the right of the DIP Credit Parties or the Ad Hoc Committee of Pre-Feti

Creditors tp object to the allowance and payment of such fees and expenses.

        36.      No Third-Party Rights. Except as explicitly provided for herein, this Interim

                                                                                        holder, or any
Order does not create any rights for the benefit of any third party, creditor, equity

direct, indirect, or incidental beneficiary.

        37.       Section SQ6(c Claims. Upon entry of the Final Order, no costs or expenses of
                                                                                  be charged
administration which have been or may be incurred in the Gases at -any time shall
                                                                                      al, or the Pre-
 against the DIP Credit Parties, the Pre-Petition Secured ~reditars, the DIP Collater
                                                                                               e.
 Petition Collateral pursuant to Sections 105 or 506(c) of the Bankruptcy Code, or otherwis

         38.      No Marshaling/Applications of Proceeds. Upon entry of the Final Qrder, none of
                                                                                      equitable
 the DIP Credit Parties or the Pre-Petition Secured Creditors shall he subject to the
                                                                                       Collateral
 doctrine of "marshaling" or any other similar doctrine with respect to any of the DIP

 or the Pre-Petition Collateral.
                                                                                               s
         39.      Section 552(b). The DIP Credit Parties and the Pre-Petition Secured Creditor

                                                                                      tcy Code.
 shall be entitled to all of the rights and benefits of Section 552(b) of the Bankrup
                                                                                        Section 552(b)
 Subject to the entry of the Final Order, the "equities of the case" exception under


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of the Bankruptcy Cgde shall not apply to the DIP Credit Parties or the Pre-Petition Secured

Creditors.

        4Q.      Joint and, Several Liability. Nothing in this Interim Order shall be cpnstrued to

constitute a substantive consolidation of any of the Debtors' estates, it being understood,

however, that the Debtors shall be jointly and severally liable for the obligations hereunder and

in accordance with the terms of the DIP Facility and the DIP Loan Documents.

        41.      Discharge Waiver. Effective upon entry of the Final Order, the Debtors expressly

stipulate, and the Court finds and adjudicates that, none of the DIF Obligations, the DIP Super-
                                                                                                  plan
Priority Claim, or the DIP Liens shall be discharged by the entry of an order confirming any

of reorganization or liquidation, notwithstanding the provisions of Section 1141(d) of the
                                                                                        the
Bankruptcy Code, unless the DIP Obligations have been paid in full in cash on or before
                                                                                            any
effective date of a confirmed Chapter 11 plan. None of the Debtors shall propose or support
                                                                                               order or
plan or sale of all or substantially all of the Debtors' assets or entry of any confirmation
                                                                                               of such
sale order that is not conditioned upon the payment in full in cash, on the effective date

plan, of all DIP Obligations.

         42.      Rights Preserved. Notwithstanding anything herein to the contrary, the entry of
                                                                                           or
this Interim Order is without prejudice to, and does not constitute a waiver of, expressly
                                                                                          any
implicitly: (a) DIP Credit Parties' and the Pre-Petition Secured Creditors' right to seek

 other or supplemental relief in respect of the Debtors or (b) any of the rights of the DIP Credit

 Parties and the Pre-Petition Secured Creditors under the Bankruptcy Code or under non-

 bankruptcy law, including, without limitation, the right to (i) request modification of the

 automatic stay of Section 362 of the Bankruptcy Code,(ii) request dismissal of any of the Cases
                                                                                                   of a
 or Successor Cases, conversion of any of the Cases to cases under Chapter 7, or appointment
                                                                                                 s
 Chapter 11 trustee or examiner with expanded powers, or (iii) propose, subject to the provision


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of Sectipn 1121 of the Bankruptcy bode, a Chapter 11 plan or plans. Other than as expressly set

forth in this Interim Order, any other rights, claims, or privileges (whether legal, equitable, or

otherwise) of the DIP Credit Parties and the Pre-Petitign Secured Creditors are preserved.

       43.      No Waiver by Failure to Seek Relief. The failure of the DIP Credit Parties or the

Pre-Petition Secured Creditors to seek relief or otherwise exercise rights and remedies under this

Interim Order, the DIP Loan Documents, the Pre-Petition Credit Documents, Qr applicable law,

as the case may be, shall not constitute a waiver of any of the rights hereunder, thereunder, or

otherwise of the DIP Credit Parties and the Pre-Petition Secured Creditors.

        44.     Bindin~Effect of Interim Order.           Immediately upon entry by this Court

(nptwithstanding any applicable law or rule to the contrary), the terms and provisions of this
                                                                                           the
Interim Order shall become valid and binding upon and inure to the benefit of the Debtors,

DIP Credit Parties, the Fre-Petition Secured Creditors, and all other creditors of any of the

Debtors, any Statutory Committee, any other court-appointed committee appointed in the Cases,
                                                                                             trustee
and all other parties-in-interest and their respective successors and assigns, including any
                                                                                  or upon
 or other fiduciary hereafter appointed in any of the Cases, any Successor Cases,

 dismissal of any Case or Successor Case. Notwithstanding anything contained herein with

 respect to the obligations or limitations when a ffinal Qrder is entered, the terms of the Final

 Order shall be what are binding on all parties.

        45.      No Modification of Interim Order, iJntil and unless the DIP Obligations have

 been paid in full in cash (such payment being without prejudice to any terms or provisions

 contained in the DIP Facility or the Pre-Petition Agreements which survive such discharge by
                                                                                                   d,
 their terms), and all commitments to extend credit under the DIF Facility have been terminate
                                                                                              or
 the Debtors irrevocably waive the right to seek and shall not seek or consent to, directly

 indirectly: (a) without the prior written consent ofthe DIP Agent, the Required Pre-Petition


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Lenders, and the Required Pre-Petition Holders,(i) any modification, stay, vacatur, or

amendment to this Interim Order or (ii) a priority claim for any administrative expense or

unsecured claim against the Debtors(now existing or hereafter arising of any kind or nature

whatsoever, including, without limitation any administrative expense ofthe kind specified in

Sections S03(b), 507(a), or 507(b) of the Bankruptcy Code)in any ofthe Cases or Successor

Cases, equal or superior to the DIP Super-Priority Claim or the Adequate Protection Claim, other

than the DIP Carve-Out;(h) any order allowing use of Cash Collateral resulting from DIP

Collateral or the Pre-Petition Collateral; and (c) any lien on any of the DIP Collateral pr the Pre-

Petition Collateral with priority equal or superior to the DIP Liens, the Adequate Protection

Liens, or the Pre-Petition Liens. The Debtors irrevocably waive any right to seek any

amendment, modification, or extension of this Interim Order without the prior written consent, as

provided in the foregoing, of the DIP Agent, the Required Pre-Petition Lenders, and the

Required Pre-Petition Holders and no such consent shall be implied by any other action, inaction,

or acquiescence of the DIP Agent, the Required Pre-Petition Lenders or the Required Pre-

Petition Holders.

         46.      Interim Order Controls. In the event of any incpnsistency between the terms and

conditions of the DIP Loan Documents, the Pre-Petition Credit Documents, or this Interim

Order, the provisions of this Interim Qrder shall govern and control.

         47.      Survival. The provisions of this Interim Order and any actions taken pursuant

hereto shall survive entry of any grder which may be entered: (a) confirming any plan of

reorganization or liquidation in any of the Cases;(b) converting any of the Cases to a case under

 Chapter 7 of the Bankruptcy Code;(c) dismissing any of the Cases or any Successor Cases; or

(d) pursuant to which this Court abstains from hearing any of the Cases or Successgr Cases. The

 terms and provisions of this Interim Order, including the claims, liens, security interests, and


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other protections granted tp the DIP Credit Parties pursuant to this Interim Order and/or the DIP

Loan Documents, notwithstanding the entry of any such order, shall cpntinue in the Cases, in any

Successor Cases, or following dismissal of the Gases or any Successor Cases, and shall maintain

their priority as provided by this Interim Order until all DIP Obligations have been paid in full

and all commitments to extend credit under the DIP Facility are terminated. Thy terms and

prgvisions in this Interim Qrder concerning the indemnification shall continue in the Gases and

in any Successor Cases, following dismissal of the Cases or any Successor Cases, following

termination of the DIP Loan Documents and/or the repayment of the DIP Obligations.

        48.      Final Hearin. The Final Hearing to consider entry of the Final Order and final

approval of the DIP Facility is scheduled for                , 2p15, at      (Eastern) before the

Honorable                      ,United States Bankruptcy Judge, at

        49.      Notice of Final Hearin: On or before February _,2015, the Debtors shall serve,

by United States mail, first-class postage prepaid, a copy of the Mption and this Interim Order

upon: (a) the Office of the U.S. Trustee for the District of Delaware; (b) the Securities and

Exchange Commission;(c) the Internal Revenue Service;(d) the twenty (20) largest unsecured

creditors of the Debtors at their last known addresses;(e) Greenberg Traurig, LLP (Attn: Bryan

L. Elwood and Heather E. Moulder), attorneys for the DIP Agent; (~ Paul, Weiss, Riflcind,

 Wharton &Garrison LLP (Attn: Alan W. Kornberg and Kelley A. Cornish), anal Young

Conaway Stargatt &Taylor, LLP (Attn: Pauline Morgan and Maris J. Kandestin), attorneys for

the Ad Hoc Committee of Pre-Petition Secured Creditors; (g) James Bates Brannan-

 Groover LLP, counsel to the Pre-Petition Agent;(h) the Indenture Trustee; (i) any party which

 has filed prior to such date a request for notices under Bankruptcy Rule 2002 with this Court;(j)

 all parties known, after reasonable inquiry, to have affected a lien, encumbrance, ~r claim in the

 DIP Collateral;(k) the Environmental Protection Agency,(1) the United States Attorney's Office


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for the District ~f Iaelaware;(m) the office of the attorneys general for the states in which the

Debtors operate; and (n)counsel for any Statutory Committee.

        50.      Objection Deadline: Objections, if any, to the relief sought in the Motion shall be

in writing, shall set forth with particularity the grounds for such objections ar other statement of

position, shall be filed with the Clerk of the bankruptcy Court, and persgnally served upon (a)

Pachulski Stang Ziehl &Jones LLP (Attn: Laura Davis Jones, Esq.);(b) the Office of the U.S.

Trustee fir the District of Delaware; (c) counsel to any Statutory Committee; (d) Greenberg

Traurig, LLF (Attn: Bryan L. Elwood and Heather E. Moulder), attorneys for the DIP Agent;(e)

Paul, Weiss, Riflcind, Wharton &Garrison LLP (Attn: Alan W. Kornberg and Kelley A.

Cornish), and Yaung Conaway Stargatt &Taylor, LLP (Attn: Pauline Morgan and Maris J.

Kandestin), attorneys for the Ad Hoc Committee of Pre-Petition Secured Creditors; (~ James

Bates Brannan Groover LLP, counsel to the Pre-Petition Agent; and (g)the Indenture Trustee, so

that such objections are filed with the Court and received by said parties on or before 5:00 p.m.

(Eastern) on March _,2015, with respect to entry of the Final Order.

         51.     Effect of this Interim Order. This Interim Order shall constitute findings of fact

and conclusions of law pursuant to Bankruptcy Rule 7052 and shall take effect immediately,

notwithstanding anything t~ the contrary proscribed by applicable law.

         52.     No Impact on Certain Contracts or Transactions. No rights of any entity in

connection with a contract or transaction of the kind listed in Sections 555, 556, 559, 560, or 561

of the Bankruptcy Code, whatever they might or might not he, are affected by the provisions of

this Interim Order.

         53.      Retention of Jurisdiction. The Court has and will retain jurisdiction to enforce

this Interim Order according to its terms.

         February _,2015
                                                UNITED STATES BANKRUPTCY JUDGE

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                                      Exhibit"A"

                                  DIP Credit Agreement




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            SENIOR SECURED,SUPER-PRIORITY
  DEBTOR-IN-POSSESSION LOA1~T A1~TD SECURITY AGREEMENT


                     by and between


              ALLEN SYSTEMS GROUP,INC.,
                ASG FEDERAL,INC., and
             VIASOFT INTERNATIONAL,LLC
                      as Borrowers,


            NEWSTAR BUSINESS CREDIT,LLC,
                 as Administrative Agent


                          and


            THE LENDERS SIGNATORY HERETO




               Dated as of February _,2015
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                           SENIOR S~CUR~D,SUPER-PRIORITY
                 DEBTOR-IN-POSSESSION LOAN AND SECURITY AGREEMENT

         This Senior Secured, Super-Priority Debtor-in-Possession Loan and Security Agreement is
executed and entered into as of February _,2015, by and among ALLEN SYSTEMS GROUP,INC., a
Delaware corporation ("Parent"), ASG FEDERAL, INC., a Delaware corporation ("ASG Federal"), and
VIASOFT INTERNATIONAL LLC, a Delaware limited liability accompany ("Viasoft"; Parent, ASG
Federal and Viasoft are herein together with their successors and permitted assigns, called the
"Borrowers" and each is a "Borrower"), the lenders from time to tine party hereto (such lenders, together
with their respective successors and permitted assigns, are referred to hereinafter collectively as the
"Lenders" and each is a "Lender") and NEWSTAR BUSINESS CREDIT, LLC, a Delaware limited
liability company, as administrative and collateral agent (in such capacity, and including its successors
and permitted assigns, the "Administrative Agent")for the Lender Parties(as hereinafter defined).

                                                 RECITALS
         On February _,2015 (the "Petition Date") the Borrowers commenced cases under Chapter 11 of
the Bankruptcy Code, 11 U.S.C. 101 et seq. (the "Bankruptc~de"), case numbers ~                        1
(collectively, the "Chapter 11 Case") by filing voluntary petitions for relief under Chapter 11 with the
United. States Bankruptcy Court for the District of Delaware (the "Bankruptcy Court"). The Borrowers
continue to operate their businesses and manage their properties as debtors and debtors-in-possession
pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code.

        The Borrowers have requested, and the Administrative Agent and the Lenders have agreed, upon
the terms and conditions set forth in this Agreement, to make available to the Borrowers apost-petition
revolving credit facility according to the terms and provisions as set forth herein below. Therefore, for
value received, the receipt and sufficiency of which is hereby acknowledged, together with the mutual
benefits provided herein, Administrative Agent, Lenders and Borrowers hereby agree as follows:

                                             ARTICLE I
                                            DEFINITIONS

        Section 1.1.    Definitions. The following definitions shall apply throughout this Agreement:

        "Account" has the meaning prescribed for such term as defined by the UCC, which definition is
incorporated herein by reference, and includes, without limitation, a right to payment of a monetary
obligation, whether or not earned by performance, for property that has been or is to be sold, leased,
licensed, assigned, or otherwise disposed of, or for services rendered or to be rendered.

        "Account Debtor" means a Person obligated on an Account, Chattel Paper, or General Intangible.

        "Adjusted LIBOR Rate" means, for any Loan, the rate per annum (rounded upwards, if necessary,
to the nearest 1/100 of 1%) determined by Administrative Agent to be equal to the sum of the LIBOR
Rate l~us the Applicable Margin for such Loan.

        "Administrative A~Vlll" has the meaning given to such term in the preamble hereto.

       "Administrative Agent's Liens" means Liens granted or purported to be granted by Borrowers
and the Guarantors in favor of Administrative Agent, for the benefit of Lender Parties, pursuant to this
Agreement or any of the other Loan Documents.


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         "Affiliate" means, as to any Person, any other Person which, directly or indirectly, is in control
of, is controlled by, or is under common control with, such Person or which owns, directly or indirectly,
five percent(5.0%) or more of the outstanding Equity Interest of such Person. For this purpose, a Person
shall be deemed to control another Person if the controlling Person possesses, directly or indirectly, the
power to direct or cause the direction of the management and policies of the other Person, whether
through the ownership of voting securities, by contract, or otherwise.

       "A~reement" means this Senior Secured, Super-Priority Debtor-in-Possession Loan and Security
Agreement and all schedules, exhibits and addenda hereto, as may be renewed, extended, amended,
supplemented, restated or otherwise modified from time to time.

       "Agreement Date" means the date as of which this Agreement is dated as specified in the
preamble to this Agreement.

        "Applicable Law" means, as to a Person, any law (statutory or common), treaty, ordinance,
decree, rule or regulation of a Governmental Authority or judgment, decree, order or determination of a
court or binding arbitrator, in each case applicable to or binding upon such Person or any of its property
or to which such Person or any of its property is subject, including, without limitation, the Fair Labor
Standards Act of 1938, the Occupational Safety and Hazard Act of 1970, all applicable laws (including
programs, permits and guidance promulgated by regulatory agencies) relating to public health or the
protection or pollution of the environment, including all Environmental Laws.

        "Applicable Mar ian" means, for any day, six percent(6.0%) per annum.

       "Approved Budget" means the Initial Budget or the most recent Budget(as applicable) delivered
to Administrative Agent by Parent pursuant to Section 8.4(b) hereof that has been approved by
Administrative Agent pursuant to the terms of Section 8.4(b).

        "Approved Budget Variance Report" shall mean a weekly report provided by Parent to the
Administrative Agent in accordance with Section 8.4(c), (i) showing a comparison of actual results for
each operating line item against such line item Yn the Approved Budget as of the Friday of the
immediately preceding week (including, without limitation, actual receipts/collections, actual
disbursement amounts, and actual domestic cash on hand) and. on a cumulative basis the four immediately
preceding weeks (or if fewer than four weeks, for the weeks that elapsed from the Closing Date) noting
therein all variances, on a line-item basis and on a total receipts and total disbursements basis, from
amounts set forth for such period in the Approved. Budget, and including a narrative explanation, in detail
reasonably satisfactory to the Administrative Agent, of each adverse variance in excess of a Permitted
Deviation with respect to any such item during such week and (ii) accompanied by a certificate signed by
a Responsible Officer ofParent certifying as to the accuracy of such Approved Budget Variance Report.

       "Availability" means, with respect to Revolving Loans as of any date of determination, an
amount equal to (a)the Revolving Credit Limit less(b)the unpaid balance of Revolving Loans (including
Swing Loans), in each case determined as of such day less (c) at all times prior to the Trigger Date, the
Reserve Amount.

        "Bankruptcy Code" has the meaning specified in the Recitals hereto.

        "Bankruptcy Court" has the meaning specified in the Recitals hereto.

        "Borrowers" has the meaning set forth in the preamble hereto.

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        "Borrowing,Notice" means a request for a Revolving Loan by Parent in compliance with Section
2_2, including a certification as to the following: (a) that the requested Revolving Loan avd intended use
thereof are consistent and in compliance with the terms of this Agreement and..the Approved Budget,(b)
that no Default or Event of Default has occurred and is continuing and the Termination Date has not
occurred, (c) that all conditions to the making of such Revolving Loan set forth in Article VI of this
Agreement have been satisfied and (d) reflecting therein that sufficient Availability exists for such
Revolving Loan.

         "Budget" means a thirteen (13) week "rolling" cash budget prepared by Parent and furnished to
the Administrative Agent pursuant to Section 8.4(b), setting forth weekly cash receipts and cash
disbursements (with detail as to identification of cash disbursements) for the Borrowers for the periods
covered thereby, including information on a line item basis as to (a) projected cash receipts,(b) projected
disbursements (including ordinary course operating expenses, bankruptcy-related expenses (including
professional fees and expenses), capital expenditures, asset sales and fees and expenses of the Lender
Parties (including counsel therefor) and any other fees and expenses relating to the Loan Documents),(c)
projected total net cash flow, and (d)projected available domestic cash, in each case in form similar to the
Initial Budget.

       "Business Day" means (a) any day that is not a Saturday, Sunday or a day on which commercial
banks in Dallas, Texas are required or permitted to be closed and (b),with respect to any borrowing,
payment or other dealings with respect to any Loan, any day which is a Business Day described in
clause a preceding and which is also a day on which dealings in Dollar deposits are carried out in the
London interbank market.

        "Capital Expenditures" has the meaning prescribed for such term by GAAP.

        "Capital Lease" means any lease of property by any Borrower which, in accordance with GAAP,
should be reflected as a capital lease on the balance sheet of such Borrower.

        "Carve-Out" means, collectively, (a) fees payable to the U. S. Trustee pursuant to 28 U.S.C.
§ 1930(a)(6) or to the clerk of the Bankruptcy Court (the "Case Administration Fees"); (b) unpaid ,
professional fees and expenses ("Borrower Professional Fees") payable to each legal or financial advisor,
investment banker, or other professionals retained by Borrowers (the "Borrower Professionals") that are
incurred or accrued prior to the Trigger Date, but subject to the aggregate amounts set forth in the
Approved Budget (subject to Permitted Deviation) and ultimately allowed by the Bankruptcy Court
pursuant to Sections 328, 330, 331 and 503 of the Bankruptcy Code or any order of the Bankruptcy Court
(whenever such fees may be actually incurred prior to the Trigger Date);(c) unpaid professional fees and
expenses (together with the Borrower Professional Fees, the "Professional Fees") payable to each legal or
financial advisor retained by a creditors' committee, if any, that are incurred or accrued prior to the
'Trigger Date, but subject to the aggregate amounts set forth in the Approved Budget as of such date
(subject to Permitted Deviation) and ultimately allowed by the Bankruptcy Court pursuant to Sections
328, 330, 331 and 503 of the Bankruptcy Code or any order ofthe Bankruptcy Court(whenever such fees
may be actually incurred prior to the Trigger Date); and (d) Case Administration Fees and Professional
Fees incurred on or after the Trigger Date in an aggregate amount not to exceed $2,000,000.

        "Carve-Out Expenses" means any payment made in respect ofthe Carve-Out.

        "Chapter 11 Case" has the meaning specified in the Recitals-hereto.



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         "Chattel Paper" has the meaning prescribed for such term as defined by the UCC, which
definition is incorporated. herein by reference. "Chattel Paper" includes, without limitation, electronic
chattel paper.

       "Closing_ Date" means the date on which all conditions precedent to the making of the initial
Revolving Loan have been met in accordance with Article VI hereof.

        "Collateral" means all personal property of the Borrowers and the Guarantors in which a Lien is
granted (or purported to be granted) to Administrative Agent, for the benefit of Lender Parties, whether
pursuant to this Agreement or any other Loan Documents.

        "Collateral Access Agreement" means a landlord waiver or subordination, bailee letter,
acknowledgment agreement or other agreement of any lessor, warehouseman, processor, consignee, or
other Person in possession of, having a Lien upon, or having rights or interests in any of Borrowers'
books and records, Equipment, Inventory or other Collateral, in each case, in form and substance
satisfactory to Administrative Agent in its Permitted Discretion.

       "Commercial Tort Claim" has the meaning prescribed for such term as defined by the UCC,
which definition is incorporated herein by reference, and includes, without limitation, in the case of a
Borrower, any tort cause of action claimed by such Borrower, including those listed on Schedule 7.32.

         "Commitment" means, for each Lender, the obligation of such Lender to make Revolving Loans
to Borrowers pursuant to the terms hereof in an aggregate amount not exceeding the commitment amount
set forth in Schedule 1.1 attached hereto for such Lender.

      "Commitment Period" means either of the Initial Commitment Period or the Subsequent
Commitment Period, as the case may be.

        "Compliance Certificate" means a certificate substantially in the form of E~ibit A attached
hereto, executed by Parent and delivered to Administrative Agent pursuant to Section 8.6.

       "Connection Income Taxes" means Other Connection Taxes that are imposed on or measured by
net income(however denominated) or that are franchise Taxes or branch profits Taxes.

        "Control Agreement" means, with respect to any deposit account, commodities account or
securities account, a control agreement, in form and substance acceptable to Administrative Agent in its
reasonable discretion, pursuant to which Administrative Agent obtains "control" pursuant to the UCC
over such account.

        "Debt' means, with respect to a Person,(a) all obligations for borrowed money of such Person,
(b)all obligations of such Person evidenced by bonds, debentures, notes, or other similar instruments and
all reimbursement or other obligations in respect of letters of credit, bankers acceptances, or other similar
financial products,(c) all obligations or liabilities of others secured by a Lien on any asset of such Person,
irrespective of whether such obligation or liability is assumed,(d) all obligations of such Person for the
deferred purchase price of assets (other than trade debt incurred in the ordinary course of business and
repayable in accordance with customary trade practices),(e)any obligation of such Person guaranteeing
or intended to guarantee (whether directly or indirectly guaranteed, endorsed, co-made, discounted, or
sold with recourse) any obligation of the type otherwise described in this definition of any other Person,
(~ asset securitizations and synthetic leases, (g) Capital Leases, (h)all net indebtedness, liabilities and
obligations under interest rate, credit, commodity and foreign exchange swaps or similar transactions

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entered into for the purpose of hedging such Person's exposure to fluctuations in interest or exchange
rates, currency valuations or commodity prices.

        "Default" means an event, condition or occurrence that, with the giving of notice, the passage of
time, or both, would. constitute an Event of Default.

        "Default Rate" means a rate per annum equal to the lesser of (a) the sum of (i) the Adjusted
LIBOR Rate for such Loan (which shall be adjusted, from time to time, simultaneously with any change
in the LIBOR Rate) l~us (ii) two percent(2.0%)and(b)the Maximum Rate.

         "Defaulting Lender" means any Lender that fails to make any advance (or other extension of
credit) that it is required to snake hereunder on the date that it is required to do so hereunder.

        "Defaulting Lender Rate" means the interest rate then applicable to Revolving Loans.

        "Deposit Account" has the meaning prescribed for such term as defined by the UCC, which.
definition is incorporated herein by reference, and includes, without limitation, a nonnegotiable certificate
of deposit or a demand, time, savings, passbook, or similar account maintained with a bank.

        "Designated Account" means account No. 3200339901 ofParent maintained at Citibank, N.A.

         "Distribution" means, for any Person, (a) any dividend, payment or distribution made on any
class of such Person's Equity Interests and (b) any payment on account of, or setting apart of assets for a
sinking or analogous fund for, the purchase, redemption, retirement, defeasance or acquisition of any
(i) shares of its Equity Interests or (ii) options, warrants or other rights to purchase Equity Interests in
such Person.

        "Document" has the meaning prescribed for such term as defined by the UCC, which definition is
incorporated herein by reference, and includes, without limitation, any bill of lading, dock warrant, dock
receipt, warehouse receipt or order for the delivery of goods, or any other document which in the regular
course of business or financing is treated as adequately evidencing that the person in possession of it is
entitled to receive, hold and dispose of the document and the goods it covers, and which purports to be
issued by or addressed to a bailee and purporting to cover goods in the bailee's possession which are
either identified or are fungible portions of an identified mass. "Document" includes, without limitation,
electronic documents.

        "Dollars" or "$" refers to lawful money of the United States of America.

       "Domestic Subsidiary" means any direct or indirect Subsidiary of Parent not a Borrower that is
organized under the laws ofthe United States of America, any State thereof or the District of Columbia.

        "Environmental Laws" means any and all laws relating to the environment or to emissions,
discharges, releases or threatened releases of pollutants, contaminants, chemicals, or industrial, toxic or
hazardous substances or wastes into the environment including ambient air, surface water, ground water,
or land, or otherwise relating to the manufacture, processing, distribution, use, treatment, storage,
disposal, transport, or handling of pollutants, contaminants, chemicals, or industrial, toxic or hazardous
substances or wastes.




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        `Equipment" has the meaning prescribed for such term as defined by,the UCC, which definition
is incorporated herein by reference, and includes, without limitation, with respect to a Person, all personal
property used. or useable by such Person in its business.

       "Equity Interests" means, with respect to a Person, shares of capital stock, partnership interests,
membership interests in a limited liability company, beneficial interests in a trust or other equity
ownership interests in a Person, and any warrants, options or other rights entitling the holder thereof to
purchase or acquire any such interest.

       `BRISA" means the Employee Retirement Income Security Act of 1974, as amended, and any
successor statute thereto.

         "~RISA Affiliate" means (a) any Person, trade or business (whether or not incorporated) subject
to ERISA whose employees are treated as being employed by the same employer as the employees of any
Borrower under Section 414(b) of the IRC, (b) any Person, trade or business (whether or not
incorporated) subject to ERISA whose employees are treated as being employed by the same employer as
the employees of any Borrower under Section 414(c) of the IRC,(c) solely for purposes of Section 302
of ERISA and Section 412 of the IRC, any organization subject to ERISA that is a member of an
affiliated service group of which any Borrower is a member under Section 414(m) of the IRC, or
(d)solely for purposes of Section 302 of ERISA and Section 412 of the IRC, atiy Person subject to
ERISA that is a party to an arrangement with any Borrower and whose employees are aggregated with the
employees of any Borrower under Section 414(0) of the IRC.

        `BRISA Benefit Plan" means any "employee benefit plan"(as defined in Section 3(3) of ERISA)
subject to Title IV of ERISA or the minimum funding standards of Section 302 of ERISA or Section 412
of the IRC as to -which any Borrower or any ERISA Affiliate (a) sponsors, maintains or contributes to on
behalf of any of its employees or (b) has (currently or hereafter) any outstanding liability (contingent or
otherwise).

        `BRISA Termination Event" shall mean (i) a Reportable Event with respect to any ERISA
Benefit Plan; (ii) the existence with respect to any ERISA Benefit Plan of anon-exempt "prohibited
transaction"(as defined in Section 406 of ERISA or Section 4975 of the IRC);(iii) the withdrawal of any
Borrower or any ERISA Affiliate from an ERISA Benefit Plan or Multiemployer Plan during a plan year
in which such entity was a "substantial employer" as defined in Section 4001(a)(2) of ERISA; (iv) the
providing of notice of intent to terminate an ERISA Benefit Plan in a distress termination described in
Section 4041(c) of ERISA;(v)the institution by the PBGC of proceedings to terminate an ERISA Benefit
Plan or Multiemployer Plan;(vi) any event or condition (a) which might constitute grounds under Section
4042 of ERISA for the termination of, or the appointment of a trustee to administer, any ERISA Benefit
Plan or Multiemployer Plan, or (b) that may result in termination of a Multiemployer Plan pursuant to
Section 4041A of ~;RISA; or (vii)the partial or complete withdrawal within the meaning of Sections 4203
and 4205 of ERISA, of any Borrower or any ERISA Affiliate from a Multiemployer Plan.
         "Event of Loss" means, with respect to any property, (i) the actual or constructive total loss of
such property or the use thereof resulting from destruction, damage beyond repair, or the rendition of such
property permanently unfit for normal use from any casualty or similar occurrence whatsoever, (ii) the
destruction or damage of a portion of such property from any casualty or similar occurrence whatsoever,
(iii) the condemnation, confiscation or seizure of, or requisition of title to or use of, any property, or (iv)
in the case of any property located upon a leasehold that is not removed in accordance with the terms of
the lease governing such leasehold, the termination or expiration of such leasehold.



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